            Case:17-15507-KHT Doc#:1 Filed:06/13/17                                  Entered:06/13/17 21:07:39 Page1 of 82
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     District of Colorado District of _________________
                                         (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                Chapter 11
                                                             
                                                                                                                           Check if this is an
                                                                 Chapter 12
                                                                Chapter 13
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Robert
                                        __________________________________________________            Suzanne
                                                                                                     __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          Edward
                                        __________________________________________________            Andrea
                                                                                                     __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Hammett
                                        __________________________________________________            Hammett
                                                                                                     __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you               __________________________________________________           __________________________________________________
      have used in the last 8           First name                                                   First name
      years
                                        __________________________________________________           __________________________________________________
       Include your married or          Middle name                                                  Middle name
       maiden names.                    __________________________________________________           __________________________________________________
                                        Last name                                                    Last name

                                        __________________________________________________           __________________________________________________
                                        First name                                                   First name
                                        __________________________________________________           __________________________________________________
                                        Middle name                                                  Middle name
                                        __________________________________________________           __________________________________________________
                                        Last name                                                    Last name




3.    Only the last 4 digits of                           2    5    1    4                                        2    8    4    2
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
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                                 About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):



                                  I have not used any business names or EINs.                 I have not used any business names or EINs.
4.   Any business names
     and Employer
     Identification Numbers
     (EIN) you have used in      FODS Fire Defense Inc.                                       MEM Western Exposure Photography LLC
                                 _________________________________________________            _________________________________________________
     the last 8 years            Business name                                                Business name

     Include trade names and     MEM R&S Management, LLC                                      MEM Fire Defense Systems LLC
                                 _________________________________________________            _________________________________________________
     doing business as names     Business name                                                Business name


                                 7015
                                 _________________________________________________
                                                                                              5563
                                                                                              _________________________________________________
                                 EIN                                                          EIN

                                 5204
                                 _________________________________________________            7656
                                                                                              _________________________________________________

                                 EIN                                                          EIN



5.   Where you live                                                                           If Debtor 2 lives at a different address:


                                 Frailey Drive                                                _________________________________________________
                                 _________________________________________________
                                 Number     Street                                            Number     Street


                                 _________________________________________________            _________________________________________________


                                 Lafayette                               CO
                                 _________________________________________________
                                                                                   80026      _________________________________________________
                                 City                            State   ZIP Code             City                            State   ZIP Code

                                 Boulder County                                               _________________________________________________
                                 _________________________________________________
                                 County                                                       County


                                 If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                 above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                 any notices to you at this mailing address.                  any notices to this mailing address.


                                 _________________________________________________            _________________________________________________
                                 Number     Street                                            Number     Street

                                 _________________________________________________            _________________________________________________
                                 P.O. Box                                                     P.O. Box

                                 _________________________________________________            _________________________________________________
                                 City                            State   ZIP Code             City                            State   ZIP Code




6.   Why you are choosing        Check one:                                                   Check one:

                                                                                             
     this district to file for   ✔ Over the last 180 days before filing this petition, I      ✔ Over the last 180 days before filing this petition, I
     bankruptcy
                                       have lived in this district longer than in any other      have lived in this district longer than in any other
                                       district.                                                 district.

                                  I have another reason. Explain.                             I have another reason. Explain.
                                       (See 28 U.S.C. § 1408.)                                   (See 28 U.S.C. § 1408.)




     Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                 page 2
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Pa rt 2 :     T e ll t he Court About Y our Ba nk rupt c y Ca se


7.    The chapter of the             Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
                                     
                                     ✔
                                       Chapter 7
                                      Chapter 11
      under


                                      Chapter 12
                                      Chapter 13

8.    How you will pay the fee       
                                     ✔
                                       I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                         local court for more details about how you may pay. Typically, if you are paying the fee
                                         yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                         submitting your payment on your behalf, your attorney may pay with a credit card or check
                                         with a pre-printed address.

                                      I need to pay the fee in installments. If you choose this option, sign and attach the
                                         Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                      I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                         By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                         less than 150% of the official poverty line that applies to your family size and you are unable to
                                         pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                         Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for          
                                  ✔ No


                                   Yes.
      bankruptcy within the
      last 8 years?                         District ____________________________________________ When ______________ Case number __________________


                                            District ____________________________________________ When ______________ Case number __________________


                                            District ____________________________________________ When ______________ Case number __________________




10.   Are any bankruptcy              ✔ No

                                       Yes.
      cases pending or being
      filed by a spouse who is
      not filing this case with
      you, or by a business
      partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
      affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                               Debtor _________________________________________________                    R elationship to you ___________________________

                               District _______________________________________________ When _______________ Case number, if known__________________


                                     
                                      Yes.
11.   Do you rent your               ✔ No.     Go to line 12.
      residence?                               Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                               residence?

                                                  No. Go to line 12.
                                                  Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                   this bankruptcy petition.




      Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor         
                                        ✔ No. Go to Part 4.
                                         Yes. Name and location of business
      of any full- or part-time
      business?
      A sole proprietorship is a
      business you operate as an                 _______________________________________________________________________________________
                                                 Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or             _______________________________________________________________________________________
                                                 Number    Street
      LLC.
      If you have more than one
                                                 _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                          _______________________________________________        _______      __________________________
                                                  City                                                  State        ZIP Code


                                                 Check the appropriate box to describe your business:
                                                    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                    None of the above


13.   Are you filing under              If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                 can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
                                        
      debtor?
                                        ✔ No.    I am not filing under Chapter 11.

                                         No.
      For a definition of small
      business debtor, see                       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                      the Bankruptcy Code.

                                         Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                 Bankruptcy Code.


Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m e dia t e Att e nt ion


14.   Do you own or have any            
                                        ✔ No
                                         Yes.
      property that poses or is
      alleged to pose a threat                    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                  If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                  Where is the property?




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Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit             You must check one:                                          You must check one:
      counseling.
                                        
                                        ✔ I received a briefing from an approved credit              
                                                                                                     ✔ I received a briefing from an approved credit
                                           counseling agency within the 180 days before I               counseling agency within the 180 days before I
      The law requires that you            filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
      receive a briefing about credit      certificate of completion.                                   certificate of completion.
      counseling before you file for
                                           Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
      bankruptcy. You must
                                           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                         I received a briefing from an approved credit               I received a briefing from an approved credit
                                           counseling agency within the 180 days before I               counseling agency within the 180 days before I
      eligible to file.                    filed this bankruptcy petition, but I do not have a          filed this bankruptcy petition, but I do not have a
                                           certificate of completion.                                   certificate of completion.
      If you file anyway, the court
                                           Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                           plan, if any.                                                plan, if any.
      you paid, and your creditors
      can begin collection activities    I certify that I asked for credit counseling                I certify that I asked for credit counseling
      again.                               services from an approved agency, but was                    services from an approved agency, but was
                                           unable to obtain those services during the 7                 unable to obtain those services during the 7
                                           days after I made my request, and exigent                    days after I made my request, and exigent
                                           circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                           of the requirement.                                          of the requirement.
                                           To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                           requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                           what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                           you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                           bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                           required you to file this case.                              required you to file this case.
                                           Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                           dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                           If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                           still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                           You must file a certificate from the approved                You must file a certificate from the approved
                                           agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                           developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                           may be dismissed.                                            may be dismissed.
                                           Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                           days.                                                        days.

                                         I am not required to receive a briefing about               I am not required to receive a briefing about
                                           credit counseling because of:                                credit counseling because of:

                                            Incapacity.      I have a mental illness or a mental        Incapacity.      I have a mental illness or a mental
                                                              deficiency that makes me                                     deficiency that makes me
                                                              incapable of realizing or making                             incapable of realizing or making
                                                              rational decisions about finances.                           rational decisions about finances.
                                            Disability.      My physical disability causes me           Disability.      My physical disability causes me
                                                              to be unable to participate in a                             to be unable to participate in a
                                                              briefing in person, by phone, or                             briefing in person, by phone, or
                                                              through the internet, even after I                           through the internet, even after I
                                                              reasonably tried to do so.                                   reasonably tried to do so.
                                            Active duty.     I am currently on active military          Active duty.     I am currently on active military
                                                              duty in a military combat zone.                              duty in a military combat zone.
                                           If you believe you are not required to receive a             If you believe you are not required to receive a
                                           briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                           motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




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Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                      16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                as “incurred by an individual primarily for a personal, family, or household purpose.”
                                           
      you have?

                                           
                                               No. Go to line 16b.
                                           ✔   Yes. Go to line 17.

                                      16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                           
                                           
                                               No. Go to line 16c.
                                               Yes. Go to line 17.

                                      16c. State the type of debts you owe that are not consumer debts or business debts.
                                           _______________________________________________________________


                                       No.
17.   Are you filing under
      Chapter 7?                               I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
                                         administrative expenses are paid that funds will be available to distribute to unsecured creditors?
                                          No
      any exempt property is
      excluded and

                                         
      administrative expenses
      are paid that funds will be        ✔ Yes
      available for distribution
      to unsecured creditors?

                                                                               1,000-5,000                             25,001-50,000
                                       50-99                                   5,001-10,000                            50,001-100,000
18.   How many creditors do           ✔ 1-49

                                       100-199                                 10,001-25,000                           More than 100,000
      you estimate that you
      owe?
                                       200-999
                                       $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
                                       $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
19.   How much do you

                                       $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
      estimate your assets to
      be worth?
                                      
                                      ✔ $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
                                       $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
                                       $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
20.   How much do you

                                       $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
      estimate your liabilities
      to be?
                                      
                                      ✔ $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
Pa rt 7 :      Sign Be low

                                      I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                               correct.
                                      If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                      of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                      under Chapter 7.
                                      If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                      this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                      I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                      I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                      with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.



                                       /s/ Robert Edward Hammett                                    _____________________________
                                      18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                         ______________________________________________                /s/ Suzanne Andrea Hammett
                                         Signature of Debtor 1                                           Signature of Debtor 2

                                                         06/14/2017                                                   06/14/2017
                                         Executed on _________________                                   Executed on __________________
                                                        MM    / DD    / YYYY                                            MM / DD     / YYYY




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                                I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are   to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one              available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no



                                _________________________________
If you are not represented      knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.           /s/ Sean Cloyes                                                   Date           06/14/2017
                                                                                                                  _________________
                                   Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                     Sean Cloyes
                                   _________________________________________________________________________________________________
                                   Printed name

                                     Berken Cloyes, PC
                                   _________________________________________________________________________________________________
                                   Firm name

                                    1159 Delaware Street
                                   _________________________________________________________________________________________________
                                   Number Street

                                   _________________________________________________________________________________________________

                                    Denver                                                          CO            80204
                                   ______________________________________________________ ____________ ______________________________
                                   City                                                    State        ZIP Code




                                   Contact phone 303-623-4357
                                                 ______________________________         Email address
                                                                                                        sean@berkencloyes.com
                                                                                                        _________________________________________



                                    33381                                                           CO
                                   ______________________________________________________ ____________
                                   Bar number                                              State




       Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                      page 7
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 Fill in this information to identify your case:

 Debtor 1
                     Robert Edward Hammett
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2
                     Suzanne Andrea Hammett
                     ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Colorado   District of __________

                                                                                                                                                                           Check if this is an
                                                                                                (State)
 Case number         ___________________________________________
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 650,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 154,220.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 804,220.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 539,934.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 9,464.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 280,405.00
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 829,803.00
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 1,770.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 2,800.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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                  Robert Edward Hammett
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                        1,770.00
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                      9,464.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                                   9,464.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
          Case:17-15507-KHT
Fill in this                               Doc#:1
             information to identify your case          Filed:06/13/17
                                               and this filing:                               Entered:06/13/17 21:07:39 Page10 of 82

Debtor 1
                   Robert Edward Hammett
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2             Suzanne Andrea Hammett
                    ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: District of Colorado   District of __________
                                                                                    (State)


                                                                                                                                         Check if this is an
Case number         ___________________________________________

                                                                                                                                             amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    
    
         No. Go to Part 2.
    ✔    Yes. Where is the property?
                                                                 
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put


                                                                 
                                                                 ✔    Single-family home                           the amount of any secured claims on Schedule D:
            Frailey Drive                                                                                          Creditors Who Have Claims Secured by Property:

                                                                 
      1.1. _________________________________________                  Duplex or multi-unit building
           Street address, if available, or other description

                                                                 
                                                                      Condominium or cooperative                   Current value of the Current value of the

                                                                 
                                                                      Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________

                                                                 
                                                                      Land                                          650,000.00
                                                                                                                   $________________    650,000.00
                                                                                                                                     $_________________

                                                                 
                                                                      Investment property
              Lafayette               CO      80026
             _________________________________________                                                             Describe the nature of your ownership

                                                                 
                                                                      Timeshare                                    interest (such as fee simple, tenancy by
             City                    State   ZIP Code
                                                                      Other __________________________________     the entireties, or a life estate), if known.
                                                                                                                    Fee simple
                                                                                                                    Check if this is community property
                                                                 Who has an interest in the property? Check one.   __________________________________________

                                                                  Debtor 1 only
                                                                  Debtor 2 only
              Boulder County
             _________________________________________

                                                                 
             County


                                                                  At least one of the debtors and another
                                                                 ✔ Debtor 1 and Debtor 2 only



                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




                                                                
    If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put


                                                                
                                                                     Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.

                                                                
      1.2. ________________________________________                  Duplex or multi-unit building
           Street address, if available, or other description

                                                                
                                                                    Condominium or cooperative                     Current value of the     Current value of the

                                                                
                                                                     Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________

                                                                
                                                                     Land                                          $________________        $_________________

                                                                
                                                                     Investment property
             ________________________________________

                                                                
                                                                     Timeshare                                     Describe the nature of your ownership
             City                    State   ZIP Code
                                                                     Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                   the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                 Debtor 1 only
                                                                                                                   __________________________________________
             ________________________________________
                                                                 Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                        Check if this is community property
             County


                                                                 At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:




                                                                                                                                                 page 1 of ___
                                                                                                                                                            10
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                                                                 
1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put


                                                                 
                                                                     Single-family home                                   the amount of any secured claims on Schedule D:
            ________________________________________                                                                      Creditors Who Have Claims Secured by Property.

                                                                 
            Street address, if available, or other description       Duplex or multi-unit building
                                                                                                                          Current value of the      Current value of the
                                                                 
                                                                     Condominium or cooperative
                                                                                                                          entire property?          portion you own?

                                                                 
            ________________________________________                 Manufactured or mobile home
                                                                                                                          $________________         $_________________
                                                                 
                                                                     Land


                                                                 
            ________________________________________
                                                                     Investment property
                                                                                                                          Describe the nature of your ownership

                                                                 
            City                    State   ZIP Code                 Timeshare
                                                                                                                          interest (such as fee simple, tenancy by
                                                                     Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
                                                                  Debtor 1 only
                                                                  Debtor 2 only
            ________________________________________


                                                                                                                           Check if this is community property
            County

                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another                    (see instructions)
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  650,000.00
   you have attached for Part 1. Write that number here. ...................................................................................... 
                                                                                                                                                    $_________________



Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   
   
         No
   ✔     Yes

                   Chevy                                         Who has an interest in the property? Check one.
                                                                 
    3.1.    Make: ____________________________                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:

                                                                  Debtor 2 only
                    Truck
            Model: ____________________________
                                                                 ✔ Debtor 1 only
                                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                  Debtor 1 and Debtor 2 only
            Year:                  1953
                                  ____________                                                                            Current value of the      Current value of the
                                                                  At least one of the debtors and another
                                  Unk
            Approximate mileage: ____________                                                                             entire property?          portion you own?


                                                                  Check if this is community property (see
            Other information:
            Condition: Poor; No title, no
                                                                                                                           200.00
                                                                                                                          $________________          200.00
                                                                                                                                                    $________________
            engine/transmission, not restored                        instructions)



   If you own or have more than one, describe here:
                   Cadillac                                      Who has an interest in the property? Check one.
                                                                  Debtor 1 only
    3.2.    Make: ____________________________                                                                            Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:

                                                                  Debtor 2 only
                    ATS
            Model: ____________________________                                                                           Creditors Who Have Claims Secured by Property.

                                                                  Debtor 1 and Debtor 2 only
            Year:                  2014
                                  ____________                                                                            Current value of the      Current value of the

                                                                 
                                  50000                                                                                   entire property?          portion you own?
            Approximate mileage: ____________                    ✔ At least one of the debtors and another



                                                                  Check if this is community property (see
            Other information:
            Condition: Good
                                                                                                                           17,000.00
                                                                                                                          $________________          8,500.00
                                                                                                                                                    $________________
                                                                     instructions)




                                                                                                                                                                   10
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                                                                                                                                                         page ___
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                       Chevy                                                  Who has an interest in the property? Check one.
                                                                               Debtor 1 only
                       ____________________________                                                                                                     Do not deduct secured claims or exemptions. Put
  ____.
  3.3      Make:
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                               Debtor 2 only
           Model: Van
                  ____________________________                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                               Debtor 1 and Debtor 2 only
           Year:                              1984
                                             ____________                                                                                               Current value of the             Current value of the
                                                                               At least one of the debtors and another
                                 134000
           Approximate mileage: ____________                                                                                                            entire property?                 portion you own?


                                                                               Check if this is community property (see
           Other information:
           Condition: Poor
                                                                                                                                                         2,000.00
                                                                                                                                                        $________________                 2,000.00
                                                                                                                                                                                         $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.
                                                                               Debtor 1 only
                                                                                                                                                        Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________                                                                                                           the amount of any secured claims on Schedule D:

                                                                               Debtor 2 only
           Model: ____________________________                                                                                                          Creditors Who Have Claims Secured by Property.

                                                                               Debtor 1 and Debtor 2 only
           Year:                             ____________                                                                                               Current value of the             Current value of the
                                                                               At least one of the debtors and another
           Approximate mileage: ____________                                                                                                            entire property?                 portion you own?


                                                                               Check if this is community property (see
           Other information:
                                                                                                                                                        $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   
   ✔    No
        Yes


                                                                             Who has an interest in the property? Check one.
                                                                              Debtor 1 only
   4.1.     Make:       ____________________________                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                              Debtor 2 only
            Model: ____________________________                                                                                                         Creditors Who Have Claims Secured by Property.


                                                                              Debtor 1 and Debtor 2 only
            Year:       ____________

                                                                              At least one of the debtors and another
                                                                                                                                                        Current value of the             Current value of the
            Other information:                                                                                                                          entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.
                                                                              Debtor 1 only
   4.2.     Make:       ____________________________                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                                                                                                        the amount of any secured claims on Schedule D:

                                                                              Debtor 2 only
            Model: ____________________________                                                                                                         Creditors Who Have Claims Secured by Property.

                                                                              Debtor 1 and Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the

                                                                              At least one of the debtors and another
                                                                                                                                                        entire property?                 portion you own?
            Other information:


                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




   you have attached for Part 2. Write that number here ............................................................................................................................
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      10,700.00
                                                                                                                                                                                        $_________________




                                                                                                                                                                                                   3      10
                                                                                                                                                                                              page ___ of __
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Pa rt 3 :        De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                    Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                   portion you own?
6. Household goods and furnishings                                                                                                                                                                  Do not deduct secured claims
                                                                                                                                                                                                    or exemptions.


      No
     Examples: Major appliances, furniture, linens, china, kitchenware
                               Water bed, double bed, 4 dressers, 2 night stands, lamps, 3 couches, 2 love seats, 2 chairs, kitchen

     
                               table & chairs, bar & stools, kitchen appliances, washer/dryer, misc. kitchen items, misc. linens,
     ✔ Yes. Describe. ........
                               misc. household decor, knick-knacks, outdoor furniture
                                                                                                                                                                                                       3,600.00
                                                                                                                                                                                                     $___________________

7. Electronics

     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music

      No
               collections; electronic devices including cell phones, cameras, media players, games

     
                              Computer, 6 tv's, Xbox One, misc. games, projection tv, 2 blu-ray player, dvd player
     ✔ Yes. Describe. ........                                                                                                                                                                         1,000.00
                                                                                                                                                                                                     $___________________

8. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;

      No
               stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

     
                             Broncos Mile High Stadium seats (paid $300 for them)
     ✔     Yes. Describe. .........                                                                                                                                                                    150.00
                                                                                                                                                                                                     $___________________

9. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
               and kayaks; carpentry tools; musical instruments
     
     
           No                       Pool table, foosball table, golf clubs, soda machine
     ✔     Yes. Describe. .........                                                                                                                                                                    500.00
                                                                                                                                                                                                     $___________________

10. Firearms


     
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment

      Yes. Describe. .........
     ✔ No
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $___________________

11. Clothes


      No
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

     
                            Usual wearing apparel
     ✔     Yes. Describe. .........                                                                                                                                                                    500.00
                                                                                                                                                                                                     $___________________


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
               gold, silver
     
     
           No                       Jewelry
     ✔     Yes. Describe. .........                                                                                                                                                                    200.00
                                                                                                                                                                                                     $___________________

13. Non-farm animals
     Examples: Dogs, cats, birds, horses

     
     
           No
                                    2 dogs, 2 cats                                                                                                                                                     0.00
     ✔     Yes. Describe. .........                                                                                                                                                                  $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

     
                                   Pawn Tickets

     
        No
     ✔  Yes. Give specific 2000 Cadillac Escalade - $1,800 to redeem.                                                                                                                                  0.00
                                                                                                                                                                                                     $___________________
        information...............
                                   2008 Cadillac DTS - $4,500 to redeem

    for Part 3. Write that number here ........................................................................................................................................................ 
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                         5,950.00
                                                                                                                                                                                                     $______________________



                                                                                                                                                                                                                     4      10
                                                                                                                                                                                                                page ___ of __
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Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   
   ✔   No
       Yes .....................................................................................................................................................................   Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
   
   
       No
   ✔   Yes .....................                                             Institution name:


                       17.1. Checking account:
                                                                            Public Service Credit Union
                                                                            ___________________________________________________________________                                                                      20.00
                                                                                                                                                                                                                    $__________________

                       17.2. Checking account:                              ___________________________________________________________________                                                                     $__________________
                                                                            Bellco FCU                                                                                                                                50.00
                       17.3. Savings account:                               ___________________________________________________________________                                                                     $__________________

                       17.4. Savings account:                               ___________________________________________________________________                                                                     $__________________

                       17.5. Certificates of deposit:                       ___________________________________________________________________                                                                     $__________________

                       17.6. Other financial account:                       ___________________________________________________________________                                                                     $__________________

                       17.7. Other financial account:                       ___________________________________________________________________                                                                     $__________________

                       17.8. Other financial account:                       ___________________________________________________________________                                                                     $__________________

                       17.9. Other financial account:                       ___________________________________________________________________                                                                     $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   
       No
   ✔   Yes ..................                 Institution or issuer name:

                                               Ameriprise - IRA
                                              _________________________________________________________________________________________                                                                              6,700.00
                                                                                                                                                                                                                    $__________________
                                              Edward Jones - IRA
                                              _________________________________________________________________________________________                                                                              800.00
                                                                                                                                                                                                                    $__________________
                                              _________________________________________________________________________________________                                                                             $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

    No
   
                                              Name of entity:                                                                                                                      % of ownership:
   ✔ Yes. Give specific                       Fire Defense Systems                                                                                                                  100                              0.00
                                              _____________________________________________________________________                                                                ___________%                     $__________________
       information about
       them. ........................         R&S Leasing LLC
                                              _____________________________________________________________________                                                                 100
                                                                                                                                                                                   ___________%                       0.00
                                                                                                                                                                                                                    $__________________
                                              R&S Management LLC
                                              _____________________________________________________________________                                                                 100
                                                                                                                                                                                   ___________%                       0.00
                                                                                                                                                                                                                    $__________________




                                                                                                                                                                                                                                         10
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                                                                                                                                                                                                                               page ___
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   
    Yes. Give specific
   ✔ No

                                         Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________       $__________________
                                         ______________________________________________________________________________________
                                                                                                                                      $__________________
                                         ______________________________________________________________________________________
                                                                                                                                      $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
    Yes. List each
   ✔ No



       account separately.                    Institution name:
       Type of account:
                                                                                                                                      $__________________
            401(k) or similar plan:          ___________________________________________________________________________________
                                                                                                                                      $__________________
            Pension plan:                    ___________________________________________________________________________________
                                                                                                                                      $__________________
            IRA:                             ___________________________________________________________________________________
                                                                                                                                      $__________________
            Retirement account:              ___________________________________________________________________________________
                                                                                                                                      $__________________
            Keogh:                           ___________________________________________________________________________________
                                                                                                                                      $__________________
            Additional account:              ___________________________________________________________________________________
                                                                                                                                      $__________________
            Additional account:              ___________________________________________________________________________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   ✔   No
      Yes ...........................                       Institution name or individual:

                                         Electric:           ______________________________________________________________________   $___________________
                                         Gas:                ______________________________________________________________________   $___________________
                                         Heating oil:        ______________________________________________________________________
                                                                                                                                      $___________________
                                         Rental unit:        ______________________________________________________________________
                                                                                                                                      $___________________
                                         Prepaid rent:       ______________________________________________________________________
                                                                                                                                      $___________________
                                         Telephone:          ______________________________________________________________________
                                                                                                                                      $___________________
                                         Water:              ______________________________________________________________________
                                                                                                                                      $___________________
                                         Rented furniture:   ______________________________________________________________________
                                                                                                                                      $___________________
                                         Other:              ______________________________________________________________________
                                                                                                                                      $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   ✔   No
      Yes ...........................   Issuer name and description:
                                         _______________________________________________________________________________________      $__________________
                                         _______________________________________________________________________________________      $__________________
                                         _______________________________________________________________________________________      $__________________

                                                                                                                                                        10
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   
   ✔   No
       Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   
   ✔   No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔

   
       No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   
   ✔   No
       Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   
   ✔   No
       Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   
   ✔   No
       Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   
   ✔   No
       Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



                                                                                                                                                                       7     10
                                                                                                                                                                 page ___ of __
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31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   
   ✔    No
        Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ...
                                                             _______________________________________________                                    ____________________________                         $__________________
                                                             _______________________________________________                                    ____________________________                         $__________________
                                                             _______________________________________________                                     ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive

   
   property because someone has died.


   
   ✔    No
        Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   
   ✔    No
        Yes. Describe each claim. .....................
                                                                                                                                                                                                       0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights


   
   to set off claims


   
        No
   ✔    Yes. Describe each claim. .....................
                                                                                                                                                          130,000.00
                                                                    Bad Faith Insurance claim against State Farm - refusal to cover fire damage in home $_____________________



35. Any financial assets you did not already list

   
   
   ✔    No
        Yes. Give specific information. ...........                                                                                                                                                    0.00
                                                                                                                                                                                                     $_____________________




   for Part 4. Write that number here ........................................................................................................................................................ 
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                       137,570.00
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .



   
37. Do you own or have any legal or equitable interest in any business-related property?


   
   ✔    No. Go to Part 6.
        Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

   
   
        No
        Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies


   
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices


   
        No
        Yes. Describe .......                                                                                                                                                                      $_____________________



                                                                                                                                                                                                                         10
                                                                                                                                                                                                                    8 of __
                                                                                                                                                                                                               page ___
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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   
        No
        Yes. Describe .......
                                                                                                                                                                                                   $_____________________




   
41. Inventory


   
        No
        Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

   
   
        No
        Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________



   
43. Customer lists, mailing lists, or other compilations


   
        No
        Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                
                      No
                      Yes. Describe.........
                                                                                                                                                                                                   $____________________



   
44. Any business-related property you did not already list


   
        No
        Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________


   for Part 5. Write that number here ........................................................................................................................................................ 
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.



   
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?


   
   ✔    No. Go to Part 7.
        Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   
        No
        Yes ...........................

                                                                                                                                                                                                     $___________________



                                                                                                                                                                                                                        10
                                                                                                                                                                                                                   9 of __
                                                                                                                                                                                                              page ___
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48. Crops—either growing or harvested

     
     
           No
           Yes. Give specific
           information. ............                                                                                                                                                                           $___________________


     
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade


     
           No
           Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     
           No
           Yes ...........................
                                                                                                                                                                                                               $___________________



     
51. Any farm- and commercial fishing-related property you did not already list


     
           No
           Yes. Give specific
           information. ............                                                                                                                                                                           $___________________


     for Part 6. Write that number here ........................................................................................................................................................ 
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________




Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     
     ✔     No
           Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                650,000.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    10,700.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               5,950.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           137,570.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
                                                                                                                                       Copy personal property total 
62. Total personal property. Add lines 56 through 61. ...................                                             154,220.00
                                                                                                                     $________________                                                                            154,220.00
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       804,220.00
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
                                                                                                                                                                                                                            10 of __
                                                                                                                                                                                                                       page ___
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     Debtor 1      Robert Edward Hammett & Suzanne Andrea Hammett
                                                               _                 Case number (if known)
                   First Name   Middle Name      Last Name



                               Continuation Sheet for Official Form 106A/B
19) Non-publicly traded stock and interests in incorporated and unincorporated businesses,
including an interest in an LLC, partnership, and joint venture

Western Exposure Photograp 100%                                              0.00
hy, LLC

Fire Defense Inc                              100%                           0.00




 	
      Official Form 106A/B                                   Schedule A/B: Property
          Case:17-15507-KHT Doc#:1 Filed:06/13/17                                            Entered:06/13/17 21:07:39 Page21 of 82

 Fill in this information to identify your case:

                     Robert Edward Hammett
 Debtor 1          __________________________________________________________________
                     First Name             Middle Name               Last Name

 Debtor 2            Suzanne Andrea Hammett
                     ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Colorado   District of __________

                                                                                                                                                    Check if this is an
                                                                                   (State)
 Case number         ___________________________________________
  (If known)
                                                                                                                                                        amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                 4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
     ✔ You are claiming state and federal nonbankruptcy exemptions.               11 U.S.C. § 522(b)(3)




 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on      Current value of the                       Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property              portion you own                            exemption you claim

                                                          Copy the value from                        Check only one box
                                                          Schedule A/B                               for each exemption


                                                                                               
                 Frailey Drive                                                                                                      § 38-41-201; § 38-41-201.6; §
 Brief                                                            650,000.00                                                        38-41-203; § 38-41-207 - $105,000.00
                                                                 $________________             ✔ $ ____________
                                                                                                   105,000.00
                                                                                                100% of fair market value, up to
 description:

 Line from                                                                                         any applicable statutory limit
 Schedule A/B:        1.1


                                                                                                $ ____________
                 2014 Cadillac ATS                                                                                                  Colo. Rev. Stat. § 13-54-102 (j)(I), (II) -
 Brief                                                                                                                              $8,500.00
                                                                 $________________
                                                                   8,500.00                        8,500.00
                                                                                                100% of fair market value, up to
                                                                                               ✔
 description:
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:         3.2

                                                                                               
                 1984 Chevy Van                                                                                                     Colo. Rev. Stat. § 13-54-102 (j)(I), (II) -
 Brief                                                                                                                              $2,000.00
                                                                 $________________
                                                                   2,000.00                    ✔ $ ____________
                                                                                                   2,000.00
                                                                                                100% of fair market value, up to
 description:

 Line from                                                                                         any applicable statutory limit
 Schedule A/B:           3.3

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     
     ✔     No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          
          
                  No
                  Yes



Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                                   2
                                                                                                                                                               page 1 of __
           Case:17-15507-KHT Doc#:1 Filed:06/13/17                                         Entered:06/13/17 21:07:39 Page22 of 82
Debtor 1
                Robert Edward Hammett & Suzanne Andrea Hammett
                _______________________________________________________                              Case number (if known)_____________________________________
                First Name      Middle Name           Last Name




 Pa rt 2 :     Addit iona l Pa ge

         description of the property and line
      Brief                                                                                     Amount of the                       Specific laws that allow exemption
                                                                         Current value of the   exemption you claim
      on Schedule A/B that lists this property                           portion you own
                                                                        Copy the value from    Check only one box
                                                                         Schedule A/B           for each exemption
               Household goods - Water bed, double bed, 4 dressers, 2

                                                                                                
                                                                                                                                     Colo. Rev. Stat. § 13-54-102 (1)(e)
Brief        night stands, lamps, 3 couches, 2 love seats, 2 chairs,
                                                                          3,600.00                                                   C.R.S. 13-54-101(4); - $3,600.00
                                                                         $________________          3,600.00
                                                                                                ✔ $ ____________

                                                                                                 100% of fair market value, up to
description: kitchen table & chairs, bar & stools, kitchen appliances,
               washer/dryer, misc. kitchen items, misc. linens, misc.
Line from household decor, knick-knacks, outdoor furniture                                         any applicable statutory limit
Schedule A/B:   6


                                                                                                
               Electronics - Computer, 6 tv's, Xbox One, misc. games,                                                                Colo. Rev. Stat. § 13-54-102 (1)(e)
Brief        projection tv, 2 blu-ray player, dvd player                 $________________
                                                                          1,000.00              ✔ $ ____________
                                                                                                    1,000.00                         C.R.S. 13-54-101(4); - $1,000.00
                                                                                                 100% of fair market value, up to
description:

                                                                                                   any applicable statutory limit
Line from
Schedule A/B:         7


                                                                                                
               Clothing - Usual wearing apparel                                                                                      Colo. Rev. Stat. § 13-54-102 (1)(a) -
Brief                                                                                                                                $500.00
                                                                         $________________
                                                                          500.00                ✔ $ ____________
                                                                                                    500.00
                                                                                                 100% of fair market value, up to
description:

Line from                                                                                          any applicable statutory limit
Schedule A/B:         11


                                                                                                
               Jewelry - Jewelry                                                                                                     Colo. Rev. Stat. § 13-54-102 (1)(b) -
Brief                                                                                                                                $200.00
description:                                                             $________________
                                                                          200.00                ✔ $ ____________
                                                                                                    200.00
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:           12


                                                                                                 $ ____________
Brief
description:                                                             $________________
                                                                                                 100% of fair market value, up to
Line from                                                                                          any applicable statutory limit
Schedule A/B:

                                                                                                 $ ____________
Brief
                                                                         $________________
                                                                                                 100% of fair market value, up to
description:

Line from                                                                                          any applicable statutory limit
Schedule A/B:

                                                                                                 $ ____________
Brief
                                                                         $________________
                                                                                                 100% of fair market value, up to
description:
Line from                                                                                          any applicable statutory limit
Schedule A/B:

                                                                                                 $ ____________
Brief
                                                                         $________________
                                                                                                 100% of fair market value, up to
description:

                                                                                                   any applicable statutory limit
Line from
Schedule A/B:

                                                                                                 $ ____________
Brief
                                                                         $________________
                                                                                                 100% of fair market value, up to
description:

Line from                                                                                          any applicable statutory limit
Schedule A/B:

                                                                                                 $ ____________
Brief
                                                                         $________________
                                                                                                 100% of fair market value, up to
description:
Line from                                                                                          any applicable statutory limit
Schedule A/B:

                                                                                                 $ ____________
Brief
                                                                         $________________
                                                                                                 100% of fair market value, up to
description:
                                                                                                   any applicable statutory limit
Line from
Schedule A/B:

                                                                                                 $ ____________
Brief
                                                                         $________________
                                                                                                 100% of fair market value, up to
description:

Line from                                                                                          any applicable statutory limit
Schedule A/B:


  Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                     2
                                                                                                                                                       page ___ of __ 2
               Case:17-15507-KHT Doc#:1 Filed:06/13/17                                               Entered:06/13/17 21:07:39 Page23 of 82

 Fill in this information to identify your case:

                     Robert Edward Hammett
 Debtor 1           __________________________________________________________________
                     First Name                   Middle Name                  Last Name

 Debtor 2            Suzanne Andrea Hammett
                     ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Colorado   District of __________
                                                                                           (State)

                                                                                                                                                        Check if this is an
 Case number         ___________________________________________
 (If known)
                                                                                                                                                           amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).



      
1. Do any creditors have claims secured by your property?


      
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔      Yes. Fill in all of the information below.


Pa rt 1 :        List All Se c ure d Cla im s
                                                                                                                           Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                         Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                      that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                   claim                 If any

2.1                                                        Describe the property that secures the claim:                    25,297.00
                                                                                                                           $_________________   650,000.00 $____________
                                                                                                                                              $________________ 0.00
       FirstBank
      ______________________________________
      Creditor’s Name
                                                           Frailey Drive - $650,000.00
       10403 W Colfax Ave
      ______________________________________
      Number            Street

      ______________________________________
                                                           As of the date you file, the claim is: Check all that apply.
                                                           
       Lakewood              CO 80215
      ______________________________________

                                                           
      City                          State   ZIP Code
                                                                Contingent


                                                           
                                                                Unliquidated
  Who owes the debt? Check one.
  
                                                                Disputed


  
        Debtor 1 only
                                                           Nature of lien. Check all that apply.

                                                          
        Debtor 2 only
                                                                An agreement you made (such as mortgage or secured

  
        Debtor 1 and Debtor 2 only

                                                           
                                                                car loan)
  ✔     At least one of the debtors and another

                                                           
                                                                Statutory lien (such as tax lien, mechanic’s lien)
  
                                                           
     Check if this claim relates to a
                                                           ✔    Judgment lien from a lawsuit
     community debt                                             Other (including a right to offset) ____________________
                           2015
  Date debt was incurred ____________                      Last 4 digits of account number           V129
2.2                                                        Describe the property that secures the claim:                    28,943.00
                                                                                                                           $_________________                   0.00
                                                                                                                                                650,000.00 $____________
                                                                                                                                              $________________
      Internal Revenue Service
      ______________________________________
      Creditor’s Name                                      Frailey Drive - $650,000.00
       PO Box 7346
      ______________________________________
      Number            Street

      ______________________________________
                                                           As of the date you file, the claim is: Check all that apply.
                                                           
      Philadelphia           PA
      ______________________________________
                                            19101-7346


                                                           
      City                          State   ZIP Code            Contingent


                                                           
                                                                Unliquidated
  Who owes the debt? Check one.
  
                                                                Disputed

  
        Debtor 1 only
                                                           Nature of lien. Check all that apply.

                                                          
        Debtor 2 only
                                                                An agreement you made (such as mortgage or secured
  
        Debtor 1 and Debtor 2 only

                                                           
                                                                car loan)
  ✔     At least one of the debtors and another

                                                           
                                                                Statutory lien (such as tax lien, mechanic’s lien)
  
                                                           
                                                           ✔    Judgment lien from a lawsuit
     Check if this claim relates to a
     community debt                                             Other (including a right to offset) ____________________
                           2015
  Date debt was incurred ____________                      Last 4 digits of account number           2514
      Add the dollar value of your entries in Column A on this page. Write that number here:                               $_________________
                                                                                                                             54,240.00

   Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of ___
                                                                                                                                                                        3
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 Debtor 1       Robert Edward Hammett
                 _______________________________________________________                                      Case number (if known)_____________________________________
                  First Name     Middle Name         Last Name




              Addit iona l Pa ge                                                                                       Column A               Column B              Column C
                                                                                                                       Amount of claim        Value of collateral   Unsecured
Pa rt 1 :     After listing any entries on this page, number them beginning with 2.3, followed                                                that supports this    portion
                                                                                                                       Do not deduct the
              by 2.4, and so forth.                                                                                    value of collateral.   claim                 If any
2.3 United Rentals North America                     Describe the property that secures the claim:                     55,694.00
                                                                                                                     $_________________   650,000.00 $_______________
                                                                                                                                        $________________ 0.00
    ______________________________________
    Creditor’s Name
                                                     Frailey Drive - $650,000.00
     100 First Stamford Place Ste 700
    ______________________________________
    Number            Street

    ______________________________________

     Stamford              CT 06902
    ______________________________________           As of the date you file, the claim is: Check all that apply.
                                                     
    City                         State    ZIP Code

                                                     
                                                         Contingent


                                                     
                                                         Unliquidated
  Who owes the debt? Check one.
  
                                                         Disputed


  
       Debtor 1 only
                                                     Nature of lien. Check all that apply.

                                                    
       Debtor 2 only
                                                         An agreement you made (such as mortgage or secured

  
  ✔    Debtor 1 and Debtor 2 only

                                                     
                                                         car loan)
       At least one of the debtors and another

                                                     
                                                         Statutory lien (such as tax lien, mechanic’s lien)
  
                                                     
       Check if this claim relates to a              ✔   Judgment lien from a lawsuit
       community debt                                    Other (including a right to offset) ____________________

                          2015
  Date debt was incurred ____________                Last 4 digits of account number         7389

2.4 Wells Fargo Home Mortgage                        Describe the property that secures the claim:                     430,000.00
                                                                                                                      $_________________   650,000.00 $_______________
                                                                                                                                         $________________ 0.00
    ______________________________________
    Creditor’s Name
                                                     Frailey Drive - $650,000.00
     PO Box 10335
    ______________________________________
    Number            Street

    ______________________________________


                                                     
     Des Moines            IA 50306
    ______________________________________           As of the date you file, the claim is: Check all that apply.

                                                     
    City                         State    ZIP Code        Contingent
                                                          Unliquidated

                                                     
  Who owes the debt? Check one.
                                                         Disputed

  
       Debtor 1 only
                                                     Nature of lien. Check all that apply.
  
       Debtor 2 only
                                                      An agreement you made (such as mortgage or secured
  
  ✔    Debtor 1 and Debtor 2 only


                                                      Statutory lien (such as tax lien, mechanic’s lien)
       At least one of the debtors and another       car loan)

      Check if this claim relates to a
       community debt                                
                                                     
                                                          Judgment lien from a lawsuit
                                                     ✔                                         Deed of Trust
                                                          Other (including a right to offset) ____________________
                          2006
  Date debt was incurred ____________                Last 4 digits of account number         8586

    ______________________________________           Describe the property that secures the claim:                    $_________________ $________________ $_______________
    Creditor’s Name

    ______________________________________
    Number            Street

    ______________________________________

    ______________________________________           As of the date you file, the claim is: Check all that apply.
                                                     
    City                         State    ZIP Code


                                                     
                                                         Contingent


                                                     
                                                         Unliquidated
  Who owes the debt? Check one.
  
                                                         Disputed

  
       Debtor 1 only
                                                     Nature of lien. Check all that apply.
                                                    
       Debtor 2 only
                                                         An agreement you made (such as mortgage or secured
  
       Debtor 1 and Debtor 2 only

                                                     
       At least one of the debtors and another           car loan)

                                                    
                                                         Statutory lien (such as tax lien, mechanic’s lien)
       Check if this claim relates to a
                                                     
                                                         Judgment lien from a lawsuit
       community debt                                    Other (including a right to offset) ____________________
  Date debt was incurred ____________                Last 4 digits of account number

            Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                     485,694.00
            If this is the last page of your form, add the dollar value totals from all pages.                           539,934.00
            Write that number here:                                                                                    $_________________

   Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page ___
                                                                                                                                                                 2 of ___
                                                                                                                                                                      3
           Case:17-15507-KHT Doc#:1 Filed:06/13/17                                  Entered:06/13/17 21:07:39 Page25 of 82
Debtor 1
               Robert Edward Hammett
                _______________________________________________________                         Case number (if known)_____________________________________
               First Name    Middle Name        Last Name


  Pa rt 2 :     List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

       Internal Revenue Service                                                                                                                2.2
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number
       1999 Broadway M/S 5012
      _____________________________________________________________________
      Street

      _____________________________________________________________________
       Denver                                       CO             80202-3025
      _____________________________________________________________________
      City                                    State         ZIP Code


       Janeway Law Firm, PC                                                                                                                     2.4
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number
      9800 S. Meridian Blvd., Suite 400
      _____________________________________________________________________
      Street

      _____________________________________________________________________

       Englewood                                    CO             80112
      _____________________________________________________________________
      City                                    State         ZIP Code


       Kevin Ellis                                                                                                                              2.3
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number
       PO Box 172132
      _____________________________________________________________________
      Street

      _____________________________________________________________________
       Denver                                       CO             80217
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                                                                               2.1
                                                                                           On which line in Part 1 did you enter the creditor? _____
       Lewis, Roca, Rothberger
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number
      1200 17th Street, Ste. 3000
      _____________________________________________________________________
      Street

      _____________________________________________________________________

       Denver                                       CO             80202
      _____________________________________________________________________
      City                                    State         ZIP Code


       Weld County District Court                                                                                                               2.3
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number
       PO Box 2038
      _____________________________________________________________________
      Street

      _____________________________________________________________________
       Greeley                                      CO              80635
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___
                                                                                                                                                   3 of ___
                                                                                                                                                        3
               Case:17-15507-KHT Doc#:1 Filed:06/13/17                                                Entered:06/13/17 21:07:39 Page26 of 82
  Fill in this information to identify your case:

                           Robert Edward Hammett
      Debtor 1           __________________________________________________________________
                          First Name                   Middle Name              Last Name

      Debtor 2            ________________________________________________________________
                          Suzanne Andrea Hammett
      (Spouse, if filing) First Name                   Middle Name              Last Name




                                                                                                                                                        Check if this is an
      United States Bankruptcy Court for the: ______________________
                                              District of Colorado   District of __________
                                                                                            (State)
      Case number         ___________________________________________
      (If known)                                                                                                                                           amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who H a ve U nse c ure d Cla im s                                                                                                       12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :             List All of Y our PRIORI T Y Unse c ure d Cla im s


          No. Go to Part 2.
 1. Do any creditors have priority unsecured claims against you?


         
         ✔ Yes.

 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim    Priority     Nonpriority
                                                                                                                                                      amount       amount
2.1                                                                                                                                 9,464.00 $___________
                                                                                                                                                 0.00      9,464.00
            Colorado Department of Revenue
           ____________________________________________                Last 4 digits of account number      5472                  $_____________          $____________
           Priority Creditor’s Name
            1375 Sherman St., Room 504
           ____________________________________________                When was the debt incurred?          2014
                                                                                                            ____________
           Number            Street
            Attn: Bankruptcy Unit
           ____________________________________________
                                                                       As of the date you file, the claim is: Check all that apply.
                                                                       
            Denver                   CO      80261
           ____________________________________________

                                                                       
                                                                           Contingent
           City                                State    ZIP Code


                                                                       
                                                                           Unliquidated
           Who incurred the debt? Check one.
           
                                                                           Disputed

           
           ✔      Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
           
                  Debtor 2 only

                                                                       
           
                  Debtor 1 and Debtor 2 only                               Domestic support obligations
                  At least one of the debtors and another
                                                                       
           
                                                                       ✔   Taxes and certain other debts you owe the government
                  Check if this claim is for a community debt             Claims for death or personal injury while you were
                                                                           intoxicated
                                                                       
           Is the claim subject to offset?
                                                                          Other. Specify _________________________________
           
           ✔      No
                  Yes
2.2
           ____________________________________________                Last 4 digits of account number                                $_____________ $___________ $____________
           Priority Creditor’s Name
                                                                       When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
                                                                       As of the date you file, the claim is: Check all that apply.
                                                                       
           ____________________________________________


                                                                       
                                                                           Contingent
           ____________________________________________

                                                                       
           City                                State    ZIP Code           Unliquidated
           Who incurred the debt? Check one.                               Disputed
           
           
                  Debtor 1 only
                                                                       Type of PRIORITY unsecured claim:
                                                                       
           
                  Debtor 2 only
                                                                           Domestic support obligations

                                                                      
                  Debtor 1 and Debtor 2 only
                                                                           Taxes and certain other debts you owe the government
                                                                       
                  At least one of the debtors and another
           
                                                                           Claims for death or personal injury while you were
                  Check if this claim is for a community debt              intoxicated
           Is the claim subject to offset?                             
           
                                                                           Other. Specify _________________________________


           
                  No
                  Yes


 Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of ___
                                                                                                                                                                       16
 Debtor 1
             Case:17-15507-KHT
                 Robert Edward Hammett Doc#:1 Filed:06/13/17
                _______________________________________________________
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                                                                                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims



        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.1       American Express
         _____________________________________________________________
         Nonpriority Creditor’s Name                                                Last 4 digits of account number       4005
                                                                                                                                                              12,892.00
                                                                                                                                                            $__________________
          PO Box 981535
         _____________________________________________________________              When was the debt incurred?          ____________
         Number            Street

         _______________________________________________________________________

                                                                                    As of the date you file, the claim is: Check all that apply.

                                                                                    
         El Paso                             TX        79998-1535
         _____________________________________________________________
         City                                             State          ZIP Code

                                                                                    
                                                                                        Contingent
         Who incurred the debt? Check one.
                                                                                   
                                                                                        Unliquidated


         
                Debtor 1 only                                                           Disputed


         
         ✔      Debtor 2 only
                                                                                    Type of NONPRIORITY unsecured claim:
         
                Debtor 1 and Debtor 2 only
                At least one of the debtors and another                             
                                                                                    
                                                                                        Student loans

               Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                    
                                                                                        that you did not report as priority claims
         Is the claim subject to offset?
                                                                                   
                                                                                        Debts to pension or profit-sharing plans, and other similar debts


         
         ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                        Credit Card Debt
                Yes

4.2      American Family Insurance
         _____________________________________________________________              Last 4 digits of account number       2016                               100.00
                                                                                                                                                            $__________________
         Nonpriority Creditor’s Name                                                When was the debt incurred?          ____________
         6000 American Parkway
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________    As of the date you file, the claim is: Check all that apply.
         Madison                             WI        53783                        
                                                                                    
         _____________________________________________________________                  Contingent
         City                                             State          ZIP Code

                                                                                    
                                                                                        Unliquidated

         
         Who incurred the debt? Check one.
                                                                                        Disputed

         
                Debtor 1 only


         
                Debtor 2 only
                                                                                    Type of NONPRIORITY unsecured claim:
                                                                                   
         ✔      Debtor 1 and Debtor 2 only


                                                                                    
                At least one of the debtors and another                                 Student loans

         
                                                                                        Obligations arising out of a separation agreement or divorce
                Check if this claim is for a community debt
                                                                                    
                                                                                        that you did not report as priority claims


                                                                                    
         Is the claim subject to offset?                                                Debts to pension or profit-sharing plans, and other similar debts

                                                                                   ✔                  Insurance Premiums
                                                                                        Other. Specify ______________________________________

         
          ✔ No

                Yes

4.3       Bellco Credit Union
         _____________________________________________________________                                                    5164
         Nonpriority Creditor’s Name
                                                                                    Last 4 digits of account number
                                                                                                                                                             21,948.00
                                                                                                                                                            $_________________
          PO Box 6611                                                               When was the debt incurred?          ____________
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
         Greenwood Village                   CO        80155
                                                                                    
         _____________________________________________________________
         City                                             State          ZIP Code

                                                                                    
         Who incurred the debt? Check one.                                              Contingent

                                                                                   
                                                                                        Unliquidated

         
                Debtor 1 only
                                                                                        Disputed

         
                Debtor 2 only


         
         ✔      Debtor 1 and Debtor 2 only
                                                                                    Type of NONPRIORITY unsecured claim:
                                                                                    
                At least one of the debtors and another

                                                                                   
                                                                                        Student loans
                Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                    
                                                                                        that you did not report as priority claims
         Is the claim subject to offset?
                                                                                   
                                                                                        Debts to pension or profit-sharing plans, and other similar debts

         
         ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                        Credit Card Debt
                Yes




      Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                        2 of ___
                                                                                                                                                                             16
 Debtor 1
            Case:17-15507-KHT
                Robert Edward Hammett Doc#:1 Filed:06/13/17
               _______________________________________________________
                                                                                        Entered:06/13/17         21:07:39 Page28 of 82
                                                                                               Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims



       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.4     Capital One
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                Last 4 digits of account number       0367
                                                                                                                                                            28,103.00
                                                                                                                                                          $__________________
        PO Box 30285
       _____________________________________________________________              When was the debt incurred?          ____________
                                                                                                                       2003-2015
       Number            Street

       _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
       Salt Lake City                      UT        84130
       _____________________________________________________________
       City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
       Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


       
              Debtor 1 only                                                           Disputed


       
       ✔      Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
       
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                             
                                                                                  
                                                                                      Student loans

             Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


       
       ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                      Credit Card Debt
              Yes

4.5    Capital Premium Financing
       _____________________________________________________________              Last 4 digits of account number       3698                               11,503.00
                                                                                                                                                          $__________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?          ____________
       PO Box 660899
       _____________________________________________________________
       Number            Street

       _______________________________________________________________________    As of the date you file, the claim is: Check all that apply.
       Dallas                              TX        75266-0899                   
                                                                                  
       _____________________________________________________________                  Contingent
       City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

       
       Who incurred the debt? Check one.
                                                                                      Disputed

       
              Debtor 1 only


       
              Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
              Debtor 1 and Debtor 2 only


                                                                                  
       ✔      At least one of the debtors and another                                 Student loans

       
                                                                                      Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
       Is the claim subject to offset?                                                Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔                  Monies Loaned / Advanced
                                                                                      Other. Specify ______________________________________

       
        ✔ No

              Yes

4.6     Carolyn Kay Caldwell
       _____________________________________________________________                                                    N/A
       Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           15,000.00
                                                                                                                                                          $_________________
        30 Beach Court                                                            When was the debt incurred?          2014-Present
                                                                                                                       ____________
       _____________________________________________________________
       Number            Street

       _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Williamson                          WV        25661
                                                                                  
       _____________________________________________________________
       City                                             State          ZIP Code

                                                                                  
       Who incurred the debt? Check one.                                              Contingent

                                                                                 
                                                                                      Unliquidated

       
       ✔      Debtor 1 only
                                                                                      Disputed

       
              Debtor 2 only


       
              Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
              At least one of the debtors and another

                                                                                 
                                                                                      Student loans
              Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

       
       ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                      Monies Loaned / Advanced
              Yes




   Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                      3 of ___
                                                                                                                                                                           16
 Debtor 1
            Case:17-15507-KHT
                Robert Edward Hammett Doc#:1 Filed:06/13/17
               _______________________________________________________
                                                                                        Entered:06/13/17         21:07:39 Page29 of 82
                                                                                               Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Pa rt 2 :         List All of Y our NON PRIORIT Y U nse c ure d Cla ims



       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.7     Chase Bank
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                Last 4 digits of account number       4566
                                                                                                                                                            20,944.00
                                                                                                                                                          $__________________
        PO Box 15298
       _____________________________________________________________              When was the debt incurred?          ____________
       Number            Street

       _______________________________________________________________________

                                                                                  As of the date you file, the claim is: Check all that apply.

                                                                                  
       Wilmington                          DE        19850
       _____________________________________________________________
       City                                             State          ZIP Code

                                                                                  
                                                                                      Contingent
       Who incurred the debt? Check one.
                                                                                 
                                                                                      Unliquidated


       
              Debtor 1 only                                                           Disputed


       
       ✔      Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
       
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                             
                                                                                  
                                                                                      Student loans

             Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts


       
       ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                      Credit Card Debt
              Yes

4.8    Chase Bank/Southwest
       _____________________________________________________________              Last 4 digits of account number       1864                               6,860.00
                                                                                                                                                          $__________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?          ____________
       PO Box 15298
       _____________________________________________________________
       Number            Street

       _______________________________________________________________________    As of the date you file, the claim is: Check all that apply.
       Wilmington                          DE        19850                        
                                                                                  
       _____________________________________________________________                  Contingent
       City                                             State          ZIP Code

                                                                                  
                                                                                      Unliquidated

       
       Who incurred the debt? Check one.
                                                                                      Disputed

       
              Debtor 1 only


       
       ✔      Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                 
              Debtor 1 and Debtor 2 only


                                                                                  
              At least one of the debtors and another                                 Student loans

       
                                                                                      Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt
                                                                                  
                                                                                      that you did not report as priority claims


                                                                                  
       Is the claim subject to offset?                                                Debts to pension or profit-sharing plans, and other similar debts

                                                                                 ✔                  Credit Card Debt
                                                                                      Other. Specify ______________________________________

       
        ✔ No

              Yes

4.9     Clauson & Associates
       _____________________________________________________________                                                    Unk
       Nonpriority Creditor’s Name
                                                                                  Last 4 digits of account number
                                                                                                                                                           1,200.00
                                                                                                                                                          $_________________
        916 S. Main Street, Ste. 202                                              When was the debt incurred?          ____________
       _____________________________________________________________
       Number            Street

       _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
       Longmont                            CO        80301
                                                                                  
       _____________________________________________________________
       City                                             State          ZIP Code

                                                                                  
       Who incurred the debt? Check one.                                              Contingent

                                                                                 
                                                                                      Unliquidated

       
       ✔      Debtor 1 only
                                                                                      Disputed

       
              Debtor 2 only


       
              Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
                                                                                  
              At least one of the debtors and another

                                                                                 
                                                                                      Student loans
              Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                  
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?
                                                                                 
                                                                                      Debts to pension or profit-sharing plans, and other similar debts

       
       ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                      Accounting Fees
              Yes




   Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
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 Debtor 1
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                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                           Total claim
      Coast to Coast Residential Development
4.10 _____________________________________________________________
      Nonpriority Creditor’s Name                                                Last 4 digits of account number       Unk
                                                                                                                                                           Unknown
                                                                                                                                                         $__________________
       5377 Manhattan Cir #103
      _____________________________________________________________              When was the debt incurred?          ____________
                                                                                                                      2008
      Number            Street

      _______________________________________________________________________

                                                                                 As of the date you file, the claim is: Check all that apply.

                                                                                 
      Boulder                             CO        80303
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                 
                                                                                     Contingent
      Who incurred the debt? Check one.
                                                                                
                                                                                     Unliquidated


      
             Debtor 1 only                                                       ✔   Disputed


      
             Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
      ✔      At least one of the debtors and another                             
                                                                                 
                                                                                     Student loans

            Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                 
                                                                                     that you did not report as priority claims
      Is the claim subject to offset?
                                                                                
                                                                                     Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                     Disputed Business Debt
             Yes

4.11 _____________________________________________________________
     Comcast                                                                     Last 4 digits of account number       6917                               206.00
                                                                                                                                                         $__________________
      Nonpriority Creditor’s Name                                                When was the debt incurred?          ____________
      One Comcast Center
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________    As of the date you file, the claim is: Check all that apply.
      Philadelphia                        PA        19103                        
                                                                                 
      _____________________________________________________________                  Contingent
      City                                             State          ZIP Code

                                                                                 
                                                                                     Unliquidated

      
      Who incurred the debt? Check one.
                                                                                     Disputed

      
             Debtor 1 only


      
             Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
                                                                                
      ✔      Debtor 1 and Debtor 2 only


                                                                                 
             At least one of the debtors and another                                 Student loans

      
                                                                                     Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                 
                                                                                     that you did not report as priority claims


                                                                                 
      Is the claim subject to offset?                                                Debts to pension or profit-sharing plans, and other similar debts

                                                                                ✔                  Cable / Satellite Services
                                                                                     Other. Specify ______________________________________

      
       ✔ No

             Yes

      Comcast Business
4.12 _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                 Last 4 digits of account number
                                                                                                                                                          1,200.00
                                                                                                                                                         $_________________
       9602 S300 W. Ste B                                                        When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                 As of the date you file, the claim is: Check all that apply.
      Sandy                               UT        84070
                                                                                 
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                 
      Who incurred the debt? Check one.                                              Contingent

                                                                                
                                                                                     Unliquidated

      
      ✔      Debtor 1 only
                                                                                     Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
                                                                                 
             At least one of the debtors and another

                                                                                
                                                                                     Student loans
             Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                 
                                                                                     that you did not report as priority claims
      Is the claim subject to offset?
                                                                                
                                                                                     Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                     Cable / Satellite Services
             Yes




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                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
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     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                           Total claim
      Emergency Service Physicians
4.13 _____________________________________________________________
      Nonpriority Creditor’s Name                                                Last 4 digits of account number       3488
                                                                                                                                                           607.00
                                                                                                                                                         $__________________
       PO Box 808
      _____________________________________________________________              When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                 As of the date you file, the claim is: Check all that apply.

                                                                                 
      Grand Rapids                        MI        49518-0808
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                 
                                                                                     Contingent
      Who incurred the debt? Check one.
                                                                                
                                                                                     Unliquidated


      
             Debtor 1 only                                                           Disputed


      
             Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
      
      ✔      Debtor 1 and Debtor 2 only
             At least one of the debtors and another                             
                                                                                 
                                                                                     Student loans

            Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                 
                                                                                     that you did not report as priority claims
      Is the claim subject to offset?
                                                                                
                                                                                     Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                     Medical Services
             Yes

4.14 _____________________________________________________________
     FPL                                                                         Last 4 digits of account number       4504                               200.00
                                                                                                                                                         $__________________
      Nonpriority Creditor’s Name                                                When was the debt incurred?          ____________
      General Mail Facility
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________    As of the date you file, the claim is: Check all that apply.
      Miami                               FL        33188-0001                   
                                                                                 
      _____________________________________________________________                  Contingent
      City                                             State          ZIP Code

                                                                                 
                                                                                     Unliquidated

      
      Who incurred the debt? Check one.
                                                                                     Disputed

      
       ✔ Debtor 1 only


      
             Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
                                                                                
             Debtor 1 and Debtor 2 only


                                                                                 
             At least one of the debtors and another                                 Student loans

      
                                                                                     Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                 
                                                                                     that you did not report as priority claims


                                                                                 
      Is the claim subject to offset?                                                Debts to pension or profit-sharing plans, and other similar debts

                                                                                ✔                  Utility Services
                                                                                     Other. Specify ______________________________________

      
       ✔ No

             Yes

      Ferguson Enterprises
4.15 _____________________________________________________________                                                     1101
      Nonpriority Creditor’s Name
                                                                                 Last 4 digits of account number
                                                                                                                                                          29,000.00
                                                                                                                                                         $_________________
       c/o Kevin R. Ellis                                                        When was the debt incurred?          2010-2014
                                                                                                                      ____________
      _____________________________________________________________
      Number            Street
       PO Box 172132
      _______________________________________________________________________
                                                                                 As of the date you file, the claim is: Check all that apply.
      Denver                              CO        80217
                                                                                 
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                 
      Who incurred the debt? Check one.                                              Contingent

                                                                                
                                                                                     Unliquidated

      
             Debtor 1 only
                                                                                     Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
                                                                                 
      ✔      At least one of the debtors and another

                                                                                
                                                                                     Student loans
             Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                 
                                                                                     that you did not report as priority claims
      Is the claim subject to offset?
                                                                                
                                                                                     Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                     Business Debt
             Yes




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 Debtor 1
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                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
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     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                           Total claim
      First Choice ER Physicians
4.16 _____________________________________________________________
      Nonpriority Creditor’s Name                                                Last 4 digits of account number       6224
                                                                                                                                                           410.00
                                                                                                                                                         $__________________
       2941 Lake Vista Drive
      _____________________________________________________________              When was the debt incurred?          ____________
                                                                                                                      2016
      Number            Street

      _______________________________________________________________________

                                                                                 As of the date you file, the claim is: Check all that apply.

                                                                                 
      Lewisville                          TX        75067
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                 
                                                                                     Contingent
      Who incurred the debt? Check one.
                                                                                
                                                                                     Unliquidated


      
             Debtor 1 only                                                           Disputed


      
             Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
      
      ✔      Debtor 1 and Debtor 2 only
             At least one of the debtors and another                             
                                                                                 
                                                                                     Student loans

            Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                 
                                                                                     that you did not report as priority claims
      Is the claim subject to offset?
                                                                                
                                                                                     Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                     Medical Services
             Yes

4.17 _____________________________________________________________
     HD Supply Waterworks                                                        Last 4 digits of account number       8978                               19,423.00
                                                                                                                                                         $__________________
      Nonpriority Creditor’s Name                                                When was the debt incurred?          ____________
                                                                                                                      2014
      PO Box 1419
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________    As of the date you file, the claim is: Check all that apply.
      Thomasville                         GA        31799                        
                                                                                 
      _____________________________________________________________                  Contingent
      City                                             State          ZIP Code

                                                                                 
                                                                                     Unliquidated

      
      Who incurred the debt? Check one.
                                                                                 ✔   Disputed

      
             Debtor 1 only


      
             Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
                                                                                
             Debtor 1 and Debtor 2 only


                                                                                 
      ✔      At least one of the debtors and another                                 Student loans

      
                                                                                     Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                 
                                                                                     that you did not report as priority claims


                                                                                 
      Is the claim subject to offset?                                                Debts to pension or profit-sharing plans, and other similar debts

                                                                                ✔                  Disputed Business Debt
                                                                                     Other. Specify ______________________________________

      
       ✔ No

             Yes

      Kaiser Permanente
4.18 _____________________________________________________________                                                     5549
      Nonpriority Creditor’s Name
                                                                                 Last 4 digits of account number
                                                                                                                                                          11,234.00
                                                                                                                                                         $_________________
       10350 E. Dakota Ave.                                                      When was the debt incurred?          2015
                                                                                                                      ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                 As of the date you file, the claim is: Check all that apply.
      Denver                              CO        80247
                                                                                 
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                 
      Who incurred the debt? Check one.                                              Contingent

                                                                                
                                                                                     Unliquidated

      
             Debtor 1 only
                                                                                     Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
                                                                                 
      ✔      At least one of the debtors and another

                                                                                
                                                                                     Student loans
             Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                 
                                                                                     that you did not report as priority claims
      Is the claim subject to offset?
                                                                                
                                                                                     Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                     Insurance Premiums
             Yes




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 Debtor 1
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                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
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     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                           Total claim
      Linebarger Goggan Blair & Sampson, LLP
4.19 _____________________________________________________________
      Nonpriority Creditor’s Name                                                Last 4 digits of account number       0622
                                                                                                                                                           200.00
                                                                                                                                                         $__________________
       1515 Cleveland Place #300
      _____________________________________________________________              When was the debt incurred?          ____________
                                                                                                                      2000
      Number            Street

      _______________________________________________________________________

                                                                                 As of the date you file, the claim is: Check all that apply.

                                                                                 
      Denver                              CO        80202
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                 
                                                                                     Contingent
      Who incurred the debt? Check one.
                                                                                
                                                                                     Unliquidated


      
             Debtor 1 only                                                           Disputed


      
      ✔      Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                             
                                                                                 
                                                                                     Student loans

            Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                 
                                                                                     that you did not report as priority claims
      Is the claim subject to offset?
                                                                                
                                                                                     Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                     Highway Tolls
             Yes

4.20 _____________________________________________________________
     Messner Reeves LLP                                                          Last 4 digits of account number       0002                               30,000.00
                                                                                                                                                         $__________________
      Nonpriority Creditor’s Name                                                When was the debt incurred?          ____________
      1430 Wynkoop Street, Ste 300
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________    As of the date you file, the claim is: Check all that apply.
      Denver                              CO        80202                        
                                                                                 
      _____________________________________________________________                  Contingent
      City                                             State          ZIP Code

                                                                                 
                                                                                     Unliquidated

      
      Who incurred the debt? Check one.
                                                                                     Disputed

      
             Debtor 1 only


      
             Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
                                                                                
      ✔      Debtor 1 and Debtor 2 only


                                                                                 
             At least one of the debtors and another                                 Student loans

      
                                                                                     Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                 
                                                                                     that you did not report as priority claims


                                                                                 
      Is the claim subject to offset?                                                Debts to pension or profit-sharing plans, and other similar debts

                                                                                ✔                  Attorney's Fees
                                                                                     Other. Specify ______________________________________

      
       ✔ No

             Yes

      Northfield Village
4.21 _____________________________________________________________                                                     Unk
      Nonpriority Creditor’s Name
                                                                                 Last 4 digits of account number
                                                                                                                                                          Unknown
                                                                                                                                                         $_________________
       c/o Classic Property Mgmt                                                 When was the debt incurred?          2008
                                                                                                                      ____________
      _____________________________________________________________
      Number            Street
       5757 Arapahoe Ave, Ste A1
      _______________________________________________________________________
                                                                                 As of the date you file, the claim is: Check all that apply.
      Boulder                             CO        80303
                                                                                 
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                 
      Who incurred the debt? Check one.                                              Contingent

                                                                                
                                                                                     Unliquidated

      
             Debtor 1 only                                                       ✔   Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
                                                                                 
      ✔      At least one of the debtors and another

                                                                                
                                                                                     Student loans
             Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                 
                                                                                     that you did not report as priority claims
      Is the claim subject to offset?
                                                                                
                                                                                     Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                     Disputed Business Debt
             Yes




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 Debtor 1
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                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


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     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                           Total claim
      Paul & Regina Svare
4.22 _____________________________________________________________
      Nonpriority Creditor’s Name                                                Last 4 digits of account number       N/A
                                                                                                                                                           15,000.00
                                                                                                                                                         $__________________
       32036 Edward Drive
      _____________________________________________________________              When was the debt incurred?          ____________
                                                                                                                      2016-2017
      Number            Street

      _______________________________________________________________________

                                                                                 As of the date you file, the claim is: Check all that apply.

                                                                                 
      Conifer                             CO        80433
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                 
                                                                                     Contingent
      Who incurred the debt? Check one.
                                                                                
                                                                                     Unliquidated


      
      ✔      Debtor 1 only                                                           Disputed


      
             Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                             
                                                                                 
                                                                                     Student loans

            Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                 
                                                                                     that you did not report as priority claims
      Is the claim subject to offset?
                                                                                
                                                                                     Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                     Monies Loaned / Advanced
             Yes

4.23 _____________________________________________________________
     South Denver Windustrial Co                                                 Last 4 digits of account number       Unk                                10,023.00
                                                                                                                                                         $__________________
      Nonpriority Creditor’s Name                                                When was the debt incurred?          ____________
                                                                                                                      2015
      3200 S Zuni St #B
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________    As of the date you file, the claim is: Check all that apply.
      Englewood                           CO        80110                        
                                                                                 
      _____________________________________________________________                  Contingent
      City                                             State          ZIP Code

                                                                                 
                                                                                     Unliquidated

      
      Who incurred the debt? Check one.
                                                                                 ✔   Disputed

      
             Debtor 1 only


      
             Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
                                                                                
             Debtor 1 and Debtor 2 only


                                                                                 
      ✔      At least one of the debtors and another                                 Student loans

      
                                                                                     Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                 
                                                                                     that you did not report as priority claims


                                                                                 
      Is the claim subject to offset?                                                Debts to pension or profit-sharing plans, and other similar debts

                                                                                ✔                  Disputed Business Debt
                                                                                     Other. Specify ______________________________________

      
       ✔ No

             Yes

      SprintPCS
4.24 _____________________________________________________________                                                     2928
      Nonpriority Creditor’s Name
                                                                                 Last 4 digits of account number
                                                                                                                                                          5,288.00
                                                                                                                                                         $_________________
       6200 Sprint Parkway                                                       When was the debt incurred?          2015
                                                                                                                      ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                 As of the date you file, the claim is: Check all that apply.
      Overland Park                       KS        66251
                                                                                 
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                 
      Who incurred the debt? Check one.                                              Contingent

                                                                                
                                                                                     Unliquidated

      
             Debtor 1 only
                                                                                     Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
                                                                                 
      ✔      At least one of the debtors and another

                                                                                
                                                                                     Student loans
             Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                 
                                                                                     that you did not report as priority claims
      Is the claim subject to offset?
                                                                                
                                                                                     Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                     Telephone / Internet services
             Yes




   Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                     9 of ___
                                                                                                                                                                          16
 Debtor 1
            Case:17-15507-KHT
                Robert Edward Hammett Doc#:1 Filed:06/13/17
               _______________________________________________________
                                                                                       Entered:06/13/17         21:07:39 Page35 of 82
                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


     
     ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
     nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
     included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                           Total claim
      Synchrony Bank/PayPal
4.25 _____________________________________________________________
      Nonpriority Creditor’s Name                                                Last 4 digits of account number       3552
                                                                                                                                                           4,585.00
                                                                                                                                                         $__________________
       PO Box 965036
      _____________________________________________________________              When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                 As of the date you file, the claim is: Check all that apply.

                                                                                 
      Orlando                             FL        32896
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                 
                                                                                     Contingent
      Who incurred the debt? Check one.
                                                                                
                                                                                     Unliquidated


      
             Debtor 1 only                                                           Disputed


      
      ✔      Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                             
                                                                                 
                                                                                     Student loans

            Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                 
                                                                                     that you did not report as priority claims
      Is the claim subject to offset?
                                                                                
                                                                                     Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                     Credit Card Debt
             Yes

4.26 _____________________________________________________________
     Viking Supply Net                                                           Last 4 digits of account number       8526                               11,888.00
                                                                                                                                                         $__________________
      Nonpriority Creditor’s Name                                                When was the debt incurred?          ____________
                                                                                                                      2015
      210 N. Industrial Park Drive
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________    As of the date you file, the claim is: Check all that apply.
      Hastings                            MI        49058                        
                                                                                 
      _____________________________________________________________                  Contingent
      City                                             State          ZIP Code

                                                                                 
                                                                                     Unliquidated

      
      Who incurred the debt? Check one.
                                                                                 ✔   Disputed

      
             Debtor 1 only


      
             Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
                                                                                
             Debtor 1 and Debtor 2 only


                                                                                 
      ✔      At least one of the debtors and another                                 Student loans

      
                                                                                     Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                 
                                                                                     that you did not report as priority claims


                                                                                 
      Is the claim subject to offset?                                                Debts to pension or profit-sharing plans, and other similar debts

                                                                                ✔                  Disputed Business Debt
                                                                                     Other. Specify ______________________________________

      
       ✔ No

             Yes

      Warren Credit Union
4.27 _____________________________________________________________                                                     1L54
      Nonpriority Creditor’s Name
                                                                                 Last 4 digits of account number
                                                                                                                                                          1,154.00
                                                                                                                                                         $_________________
       114 E. 7th Ave                                                            When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                 As of the date you file, the claim is: Check all that apply.
      Cheyenne                            WY        82001
                                                                                 
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                 
      Who incurred the debt? Check one.                                              Contingent

                                                                                
                                                                                     Unliquidated

      
             Debtor 1 only
                                                                                     Disputed

      
             Debtor 2 only


      
      ✔      Debtor 1 and Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
                                                                                 
             At least one of the debtors and another

                                                                                
                                                                                     Student loans
             Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                 
                                                                                     that you did not report as priority claims
      Is the claim subject to offset?
                                                                                
                                                                                     Debts to pension or profit-sharing plans, and other similar debts

      
      ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                     Monies Loaned / Advanced
             Yes




   Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page __
                                                                                                                                                                     10 of ___
                                                                                                                                                                           16
Debtor 1
           Case:17-15507-KHT
               Robert Edward Hammett Doc#:1 Filed:06/13/17
              _______________________________________________________
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                                                                                              Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims



     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
 3. Do any creditors have nonpriority unsecured claims against you?


    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
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    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                           Total claim
      Wells Fargo Bank
4.28 _____________________________________________________________
      Nonpriority Creditor’s Name                                                Last 4 digits of account number       2583
                                                                                                                                                           21,037.00
                                                                                                                                                         $__________________
       PO Box 10438
      _____________________________________________________________              When was the debt incurred?          ____________
      Number            Street

      _______________________________________________________________________

                                                                                 As of the date you file, the claim is: Check all that apply.

                                                                                 
      Des Moines                          IA        50306
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                 
                                                                                     Contingent
      Who incurred the debt? Check one.
                                                                                
                                                                                     Unliquidated


      
             Debtor 1 only                                                           Disputed


      
      ✔      Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
      
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                             
                                                                                 
                                                                                     Student loans

            Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                 
                                                                                     that you did not report as priority claims
      Is the claim subject to offset?
                                                                                
                                                                                     Debts to pension or profit-sharing plans, and other similar debts


      
      ✔      No                                                                  ✔   Other. Specify ______________________________________
                                                                                                     Monies Loaned / Advanced
             Yes

4.29 _____________________________________________________________
     Wells Fargo Bank                                                            Last 4 digits of account number                                          400.00
                                                                                                                                                         $__________________
      Nonpriority Creditor’s Name                                                When was the debt incurred?          ____________
                                                                                                                      2000
      420 Montgomery st.
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________    As of the date you file, the claim is: Check all that apply.
      San Francisco                       CA        94104                        
                                                                                 
      _____________________________________________________________                  Contingent
      City                                             State          ZIP Code

                                                                                 
                                                                                     Unliquidated

      
      Who incurred the debt? Check one.
                                                                                     Disputed

      
             Debtor 1 only


      
      ✔      Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
                                                                                
             Debtor 1 and Debtor 2 only


                                                                                 
             At least one of the debtors and another                                 Student loans

      
                                                                                     Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt
                                                                                 
                                                                                     that you did not report as priority claims


                                                                                 
      Is the claim subject to offset?                                                Debts to pension or profit-sharing plans, and other similar debts

                                                                                ✔                  Overdrawn Bank Account
                                                                                     Other. Specify ______________________________________

      
       ✔ No

             Yes

      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                 Last 4 digits of account number
                                                                                                                                                         $_________________
                                                                                 When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                 As of the date you file, the claim is: Check all that apply.

                                                                                 
      _____________________________________________________________
      City                                             State          ZIP Code

                                                                                 
      Who incurred the debt? Check one.                                              Contingent

                                                                                
                                                                                     Unliquidated

      
             Debtor 1 only
                                                                                     Disputed

      
             Debtor 2 only


      
             Debtor 1 and Debtor 2 only
                                                                                 Type of NONPRIORITY unsecured claim:
                                                                                 
             At least one of the debtors and another

                                                                                
                                                                                     Student loans
             Check if this claim is for a community debt                             Obligations arising out of a separation agreement or divorce

                                                                                 
                                                                                     that you did not report as priority claims
      Is the claim subject to offset?
                                                                                
                                                                                     Debts to pension or profit-sharing plans, and other similar debts

      
             No
                                                                                     Other. Specify ______________________________________
             Yes




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Debtor 1
           Case:17-15507-KHT
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                                                                                             Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      ACSI
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 301608                                                             2.1 of (Check one):
                                                                           Line _____                   
                                                                                                        ✔ Part 1: Creditors with Priority Unsecured Claims

                                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
     _____________________________________________________
     Number          Street

     _____________________________________________________
                                                                           Last 4 digits of account number
      Portland                        OR
     _____________________________________________________      97294
     City                                   State               ZIP Code

      AMCOL Systems
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 21623                                                               4.16 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

      Columbia                        SC
     _____________________________________________________      29221      Last 4 digits of account number
     City                                   State               ZIP Code


      Biehl & Biehl, Inc.
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 87410                                                              4.26 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

     Carol Stream                     IL
     _____________________________________________________      60188      Last 4 digits of account number
     City                                   State               ZIP Code

      CU Recovery Inc
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      26243 Forest Blvd                                                          4.27 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

      Wyoming                         MN
     _____________________________________________________      55092      Last 4 digits of account number
     City                                   State               ZIP Code

      Convergent Outsourcing
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      800 SW 39th St.                                                            4.11 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

     Renton                           WA
     _____________________________________________________      98057      Last 4 digits of account number
     City                                   State               ZIP Code

      Credit Collection Services
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      715 S. Canton Street                                                       4.29 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

      Norwood                         MA
     _____________________________________________________      02062      Last 4 digits of account number
     City                                   State               ZIP Code

      Daniel Blum
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      2919 Valmont Road, Suite 209
     _____________________________________________________                       4.23 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     Number          Street
                                                                                                        ✔ Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                 Claims
      Boulder                         CO         80301
     _____________________________________________________
                                                                           Last 4 digits of account number
     City                                   State               ZIP Code



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Debtor 1
           Case:17-15507-KHT
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              _______________________________________________________
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                                                                                             Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

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    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      GB
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      145 Bradford Drive                                                        4.18 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                           Last 4 digits of account number
      W. Berlin                       NJ
     _____________________________________________________      08091
     City                                   State               ZIP Code

      Integral Recoveries
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      750 W Hampden Ave #501                                                     2.1 of (Check one):
                                                                           Line _____                   
                                                                                                        ✔ Part 1: Creditors with Priority Unsecured Claims

                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
     Number          Street

     _____________________________________________________
                                                                           Claims

      Englewood                       CO
     _____________________________________________________      80110      Last 4 digits of account number
     City                                   State               ZIP Code


      Linebarger Goggan Blair & Sampson, LLP
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      1515 Cleveland Place #300                                                 4.19 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

     Denver                           CO
     _____________________________________________________      80202      Last 4 digits of account number
     City                                   State               ZIP Code

      MR Accounting & Property Management
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 2293                                                                4.21 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

      Longmont                        CO
     _____________________________________________________      80502      Last 4 digits of account number
     City                                   State               ZIP Code

      MRS Associates
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      1930 Olney Avenue                                                          4.7 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

     Cherry Hill                      NJ
     _____________________________________________________      08003      Last 4 digits of account number
     City                                   State               ZIP Code

      Machol & Johannes, LLC
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      700 17th Street, Suite 200                                                 4.27 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

      Denver                          CO         80202-3502
     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code

      Machol & Johannes, LLC
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      700 17th Street, Suite 200
     _____________________________________________________                       4.4 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     Number          Street
                                                                                                        ✔ Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                 Claims
      Denver                          CO         80202-3502
     _____________________________________________________
     City                                   State               ZIP Code
                                                                           Last 4 digits of account number


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Debtor 1
           Case:17-15507-KHT
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              _______________________________________________________
                                                                                      Entered:06/13/17         21:07:39 Page39 of 82
                                                                                             Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

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    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      McCarthy, Burgess & Wolff
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      2600 Cannon Rd.                                                           4.24 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                           Last 4 digits of account number
      Cleveland                       OH
     _____________________________________________________      44146
     City                                   State               ZIP Code

      McConaughy & Sarkissian, PC
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      8310 South Valley Highway, Ste. 250                                        4.10 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

      Englewood                       CO
     _____________________________________________________      80112      Last 4 digits of account number
     City                                   State               ZIP Code


      Midland Credit Management, Inc.
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 2121                                                               4.25 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

     Warren                           MI
     _____________________________________________________      48090      Last 4 digits of account number
     City                                   State               ZIP Code

      Midland Credit Management, Inc.
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      2365 Northside Dr #300                                                     4.25 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

      San Diego                       CA
     _____________________________________________________      92108      Last 4 digits of account number
     City                                   State               ZIP Code

      Nationwide Credit Inc.
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      PO Box 26314                                                               4.7 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

     Lehigh Valley                    PA
     _____________________________________________________      18002      Last 4 digits of account number
     City                                   State               ZIP Code

      Stellar Recovery Inc.
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      1327 Highway 2 W, Suite 100                                                4.12 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured

     _____________________________________________________
                                                                           Claims

      Kalispell                       MT
     _____________________________________________________      59901      Last 4 digits of account number
     City                                   State               ZIP Code

      Stuart Allan & Associates
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      5447 E 5th St, Ste 110
     _____________________________________________________                       4.5 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     Number          Street
                                                                                                        ✔ Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                 Claims
      Tucson                          AZ         85711
     _____________________________________________________
                                                                           Last 4 digits of account number
     City                                   State               ZIP Code



  Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              page __
                                                                                                                                                         14 of ___
                                                                                                                                                                16
Debtor 1
           Case:17-15507-KHT
               Robert Edward Hammett Doc#:1 Filed:06/13/17
              _______________________________________________________
                                                                                      Entered:06/13/17         21:07:39 Page40 of 82
                                                                                             Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



Pa rt 3 :     List Ot he rs t o Be N ot ifie d About a De bt T ha t Y ou Alre a dy List e d

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Sweetbaum Sands Anderson PC
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      1125 17th Street, Suite 2100                                              4.10 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured Claims

     _____________________________________________________
                                                                           Last 4 digits of account number
      Denver                          CO
     _____________________________________________________      80202
     City                                   State               ZIP Code

      WFJ
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

      1700 IDS Center                                                            4.17 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
                                                                                                        
     _____________________________________________________
     Number          Street                                                                             ✔ Part 2: Creditors with Nonpriority Unsecured
      80 South 8th Street
     _____________________________________________________
                                                                           Claims

      Minneapolis                     MN
     _____________________________________________________      55402      Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
     Number          Street

     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
     Number          Street

     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
     Number          Street

     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
     Number          Street

     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number
     City                                   State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                 Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     Number          Street

     _____________________________________________________                 Claims

     _____________________________________________________
     City                                   State               ZIP Code
                                                                           Last 4 digits of account number


  Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              page __
                                                                                                                                                         15 of ___
                                                                                                                                                                16
Debtor 1
           Case:17-15507-KHT
               Robert Edward Hammett Doc#:1 Filed:06/13/17
              _______________________________________________________
                                                                                 Entered:06/13/17         21:07:39 Page41 of 82
                                                                                        Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Pa rt 4 :    Add t he Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.                        0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.                   9,464.00
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.                        0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                                           0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                                      9,464.00
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.                         0.00
Total claims                                                                            $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.
                                                                                                           0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.                        0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                                  280,405.00


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                                   280,405.00
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                   page __
                                                                                                                                               16 of ___
                                                                                                                                                      16
          Case:17-15507-KHT Doc#:1 Filed:06/13/17                                          Entered:06/13/17 21:07:39 Page42 of 82

 Fill in this information to identify your case:

                       Robert Edward Hammett
 Debtor               __________________________________________________________________
                       First Name             Middle Name            Last Name
                      Suzanne Andrea Hammett
 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


 United States Bankruptcy Court for the:______________________
                                        District of Colorado   District of ________
                                                                                 (State)

                                                                                                                                         Check if this is an
 Case number           ___________________________________________
  (If known)
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      
      ✔    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                                State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code


Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                     1
                                                                                                                                              page 1 of ___
          Case:17-15507-KHT Doc#:1 Filed:06/13/17                                                       Entered:06/13/17 21:07:39 Page43 of 82
 Fill in this information to identify your case:

                     Robert Edward Hammett
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name                 Last Name

 Debtor 2               Suzanne Andrea Hammett
                        ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name                 Last Name


 United States Bankruptcy Court for the:_______________________
                                         District of Colorado   District of ________
                                                                                              (State)


                                                                                                                                                     Check if this is an
 Case number            ____________________________________________
  (If known)

                                                                                                                                                       amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                                 12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      
      ✔    Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      
      ✔    No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           
           
                   No
                   Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                   ______________________________________________________________________
                   Number            Street

                   ______________________________________________________________________
                   City                                             State                       ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                    Column 2: The creditor to whom you owe the debt

                                                                                                                  Check all schedules that apply:


                                                                                                                  
3.1       Fire Defense
         ________________________________________________________________________________                         ✔                    2.1
                                                                                                                      Schedule D, line ______
                                                                                                                  
         Name
          3764 Eureka Way, Ste. 5                                                                                     Schedule E/F, line ______
                                                                                                                  
         ________________________________________________________________________________
          Street                                                                                                      Schedule G, line ______
          Frederick                                CO                       80516
         ________________________________________________________________________________
         City                                                          State                       ZIP Code


                                                                                                                  
3.2       Western Exposure Photography
         ________________________________________________________________________________                             Schedule D, line ______
                                                                                                                  
         Name
         PO Box 597                                                                                               ✔                      4.29
                                                                                                                      Schedule E/F, line ______
                                                                                                                  
         ________________________________________________________________________________
          Street                                                                                                      Schedule G, line ______
          Erie                                     CO                       80516
         ________________________________________________________________________________
         City                                                          State                       ZIP Code


                                                                                                                  
3.3
         ________________________________________________________________________________                             Schedule D, line ______
                                                                                                                  
         Name
                                                                                                                      Schedule E/F, line ______
                                                                                                                  
         ________________________________________________________________________________
          Street                                                                                                      Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                       ZIP Code



Official Form 106H                                                             Schedule H: Your Codebtors                                                page 1 of ___
                                                                                                                                                                    1
          Case:17-15507-KHT Doc#:1 Filed:06/13/17                                   Entered:06/13/17 21:07:39 Page44 of 82

 Fill in this information to identify your case:

                     Robert Edward Hammett
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name
                      Suzanne Andrea Hammett
 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of Colorado  District of ___________
                                                                                (State)
 Case number         ___________________________________________                                      Check if this is:
                                                                                                       An amended filing
  (If known)


                                                                                                       A supplement showing postpetition chapter 13
                                                                                                         income as of the following date:
                                                                                                         ________________
Official Form 106I                                                                                       MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                         Debtor 1                                      Debtor 2 or non-filing spouse

    If you have more than one job,
                                                                                                                      
    attach a separate page with                                       ✔ Employed                                       ✔
                                                                       Not employed                                   
    information about additional         Employment status                                                                 Employed
    employers.                                                                                                             Not employed
    Include part-time, seasonal, or
    self-employed work.                                               Side Jobs                                      Self-Employed Driver
                                         Occupation                 __________________________________             __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                                                       N/A                                             Lyft
                                         Employer’s name            __________________________________              __________________________________


                                         Employer’s address        _______________________________________        ________________________________________
                                                                    Number Street                                  Number    Street

                                                                   _______________________________________        ________________________________________

                                                                   _______________________________________        ________________________________________

                                                                      ,
                                                                   _______________________________________            ,
                                                                                                                  ________________________________________
                                                                    City            State  ZIP Code                 City                State ZIP Code

                                         How long employed there?________________________                           ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                 For Debtor 1       For Debtor 2 or
                                                                                                                    non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.          2.            0.00                     0.00
                                                                                                $___________            $____________

 3. Estimate and list monthly overtime pay.                                               3.   + $___________
                                                                                                         0.00      +             0.00
                                                                                                                        $____________


 4. Calculate gross income. Add line 2 + line 3.                                          4.            0.00
                                                                                                $__________                      0.00
                                                                                                                        $____________




Official Form 106I                                             Schedule I: Your Income                                                         page 1
           Case:17-15507-KHT Doc#:1 Filed:06/13/17                                                           Entered:06/13/17 21:07:39 Page45 of 82
                Robert Edward Hammett
Debtor 1        _______________________________________________________                                                   Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name



                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.            0.00
                                                                                                                          $___________                    0.00
                                                                                                                                                  $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.            0.00
                                                                                                                         $____________
                                                                                                                                                          0.00
                                                                                                                                                  $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.
                                                                                                                                0.00
                                                                                                                         $____________
                                                                                                                                                          0.00
                                                                                                                                                  $_____________
     5d. Required repayments of retirement fund loans                                                            5d.
                                                                                                                                0.00
                                                                                                                         $____________
                                                                                                                                                          0.00
                                                                                                                                                  $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                                          0.00
     5g. Union dues                                                                                              5g.
                                                                                                                                0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________

     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00         +            0.00
                                                                                                                                                  $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.            0.00
                                                                                                                         $____________                    0.00
                                                                                                                                                  $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                1,000.00                    770.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00                      0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________                     0.00
                                                                                                                                                  $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
                                                                                                                                                         0.00
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.        1,000.00
                                                                                                                         $____________                  770.00
                                                                                                                                                  $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            1,000.00
                                                                                                                         $___________     +             770.00
                                                                                                                                                  $_____________      =      1,770.00
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             1,770.00
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income

     
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔ No.
      Yes. Explain:             Petitioners have pawned multiple items in the past 6+ months for income. Petitioners' parents have
                                 loaned them money, and IRA's have been cashed out.

  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
           Case:17-15507-KHT Doc#:1 Filed:06/13/17                                             Entered:06/13/17 21:07:39 Page46 of 82

  Fill in this information to identify your case:

                     Robert Edward Hammett
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:

                                                                                                              An amended filing
                      Suzanne Andrea Hammett
  Debtor 2            ________________________________________________________________

                                                                                                              A supplement showing postpetition chapter 13
  (Spouse, if filing) First Name             Middle Name                 Last Name

                                          District of Colorado
  United States Bankruptcy Court for the: ______________________ District of __________
                                                                                     (State)
                                                                                                                 expenses as of the following date:
                                                                                                                 ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

    No. Go to line 2.
   
   ✔ Yes. Does Debtor 2 live in a separate household?
               
               ✔ No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  No
                                           
                                                                                          Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                ✔ Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?

                                                                                                                                                  No
   Debtor 2.                                   each dependent..........................

                                                                                                                                                 
   Do not state the dependents’                                                            Son
                                                                                          _________________________                 14
                                                                                                                                   ________
   names.                                                                                                                                        ✔ Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                          _________________________                ________

                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                          _________________________                ________

                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                          _________________________                ________

                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                          _________________________                ________


3. Do your expenses include
                                           
                                           
                                               No
   expenses of people other than
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                      0.00
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                      0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                      0.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                      0.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                              page 1
              Case:17-15507-KHT Doc#:1 Filed:06/13/17                                   Entered:06/13/17 21:07:39 Page47 of 82

                    Robert Edward Hammett
 Debtor 1          _______________________________________________________                     Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                          Your expenses

                                                                                                                         $_____________________
                                                                                                                                          0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                    5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                      6a.    $_____________________
                                                                                                                                       700.00
        6b.   Water, sewer, garbage collection                                                                    6b.    $_____________________
                                                                                                                                       250.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                      6c.    $_____________________
                                                                                                                                       250.00
        6d.   Other. Specify: _______________________________________________                                     6d.    $_____________________
                                                                                                                                          0.00
 7. Food and housekeeping supplies                                                                                7.     $_____________________
                                                                                                                                       800.00
 8. Childcare and children’s education costs                                                                      8.     $_____________________
                                                                                                                                          0.00
 9. Clothing, laundry, and dry cleaning                                                                           9.     $_____________________
                                                                                                                                          0.00
10.    Personal care products and services                                                                        10.    $_____________________
                                                                                                                                          0.00
11.    Medical and dental expenses                                                                                11.    $_____________________
                                                                                                                                       200.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                         $_____________________
                                                                                                                                       300.00
       Do not include car payments.                                                                               12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                        13.    $_____________________
                                                                                                                                        50.00
14.     Charitable contributions and religious donations                                                          14.    $_____________________
                                                                                                                                          0.00
                                                                                                                                                        1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                       15a.   $_____________________
                                                                                                                                          0.00
        15b. Health insurance                                                                                     15b.   $_____________________
                                                                                                                                          0.00
        15c. Vehicle insurance                                                                                    15c.   $_____________________
                                                                                                                                          0.00
        15d. Other insurance. Specify:_______________________________________                                     15d.   $_____________________
                                                                                                                                          0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                         16.
                                                                                                                                         0.00
                                                                                                                         $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                           17a.   $_____________________
                                                                                                                                          0.00
        17b. Car payments for Vehicle 2                                                                           17b.   $_____________________
                                                                                                                                          0.00
        17c. Other. Specify:_______________________________________________                                       17c.   $_____________________
                                                                                                                                          0.00
        17d. Other. Specify:_______________________________________________                                       17d.   $_____________________
                                                                                                                                          0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                           18.                    0.00
                                                                                                                         $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                             19.
                                                                                                                                          0.00
                                                                                                                         $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                          20a.   $_____________________
                                                                                                                                          0.00
        20b. Real estate taxes                                                                                    20b.   $_____________________
                                                                                                                                          0.00
        20c. Property, homeowner’s, or renter’s insurance                                                         20c.   $_____________________
                                                                                                                                          0.00
        20d. Maintenance, repair, and upkeep expenses                                                             20d.   $_____________________
                                                                                                                                          0.00
        20e. Homeowner’s association or condominium dues                                                          20e.   $_____________________
                                                                                                                                          0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                     page 2
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                   Robert Edward Hammett
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Pet Care & Incidentals
                                                                                                                                        250.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 2,800.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 2,800.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       1,770.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 2,800.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                 -1,030.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
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Fill in this information to identify your case:

Debtor 1           Robert Edward Hammett
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2           Suzanne   Andrea Hammett
                   ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:District of Colorado    District of __________
                                                                                (State)
Case number         ___________________________________________

                                                                                                                                          Check if this is an
(If known)


                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

            No
       
       ✔

             Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Robert Edward Hammett
          ______________________________________________           _____________________________
                                                                     /s/ Suzanne Andrea Hammett
         Signature of Debtor 1                                         Signature of Debtor 2


              06/14/2017
         Date _________________                                              06/14/2017
                                                                       Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
          Case:17-15507-KHT Doc#:1 Filed:06/13/17                                       Entered:06/13/17 21:07:39 Page50 of 82

 Fill in this information to identify your case:

 Debtor 1          Robert Edward Hammett
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2             Suzanne Andrea Hammett
                     ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: District
                                          ______________________
                                                  of Colorado    District of ______________
                                                                             (State)


                                                                                                                                         Check if this is an
 Case number         ___________________________________________
  (If known)
                                                                                                                                           amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                          4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


      
       Not married
      ✔ Married




 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     
     ✔     No
           Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1         Debtor 2:                                             Dates Debtor 2
                                                                lived there                                                                  lived there

                                                                                        Same as Debtor 1                                      Same as Debtor 1

               __________________________________________       From     ________         ___________________________________________           From ________
                Number    Street                                                          Number Street
                                                                To       __________                                                             To      ________
               __________________________________________                                 ___________________________________________

               __________________________________________                                 ___________________________________________
               City                     State ZIP Code                                    City                     State ZIP Code


                                                                                        Same as Debtor 1                                      Same as Debtor 1


               __________________________________________       From     ________         ___________________________________________           From ________
                Number    Street                                                          Number Street
                                                                To       ________                                                               To      ________
               __________________________________________                                 ___________________________________________

               __________________________________________                                 ___________________________________________
               City                     State ZIP Code                                    City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No
     
     ✔

           Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 1
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Debtor 1        Robert Edward Hammett
                _______________________________________________________                                      Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     
     
     ✔     No
           Yes. Fill in the details.

                                                                Debtor 1                                              Debtor 2

                                                                Sources of income            Gross income             Sources of income           Gross income
                                                                Check all that apply.        (before deductions and   Check all that apply.       (before deductions and
                                                                                             exclusions)                                          exclusions)


            From January 1 of current year until
                                                                   Wages, commissions,                                  Wages, commissions,
                                                                                             $________________                                    $________________
                                                                                                                     
                                                                    bonuses, tips                                         bonuses, tips
            the date you filed for bankruptcy:
                                                                    Operating a business                                  Operating a business


            For last calendar year:
                                                                   Wages, commissions,                                  Wages, commissions,

                                                                                                                     
                                                                    bonuses, tips            $________________            bonuses, tips           $________________
            (January 1 to December 31, _________)                   Operating a business                                  Operating a business
                                              YYYY



            For the calendar year before that:                     Wages, commissions,                                  Wages, commissions,

                                                                                                                     
                                                                    bonuses, tips                                         bonuses, tips
                                                                                             $________________                                    $________________
            (January 1 to December 31, _________)                   Operating a business                                  Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     
     ✔     No
           Yes. Fill in the details.

                                                     Debtor 1                                                          Debtor 2

                                                     Sources of income             Gross income from                   Sources of income          Gross income from
                                                     Describe below.               each source                         Describe below.            each source
                                                                                   (before deductions and                                         (before deductions and
                                                                                   exclusions)                                                    exclusions)


                                        _________________________                  $________________          _________________________          $________________
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________          $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________          $_________________


                                         _________________________ $________________                           _________________________         $________________
For last calendar year:
                                         _________________________ $________________                           _________________________         $________________
(January 1 to
                                         _________________________ $_________________                          _________________________         $_________________
December 31, _________)


For the calendar year                    _________________________ $________________                           _________________________         $________________
before that:                             _________________________ $________________                           _________________________         $________________
(January 1 to                            _________________________ $_________________                          _________________________         $_________________
December 31, _________)




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
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Debtor 1       Robert Edward Hammett
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

     
     ✔     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               
               ✔    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________           _________
                                                                                                                                         Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________           _________

                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________           _________                                                           Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________           _________

                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________           _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      Creditor’s Name


                      ____________________________________           _________                                                           Credit card
                                                                                                                                         Loan repayment
                      Number    Street



                                                                                                                                         Suppliers or vendors
                      ____________________________________           _________

                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
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Debtor 1            Robert Edward Hammett
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     
     ✔     No
           Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     
     ✔     No
           Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4
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Debtor 1          Robert  Edward Hammett
                  _______________________________________________________                                        Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     
     
           No
     ✔     Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case
                                                                    Rule 120
                                                                                                                                                          
                  In the Matter of Wells Fargo et al
    Case title:                                                                                            Boulder County District Court
                                                                                                          ________________________________________            Pending

                                                                                                                                                          
                                                                                                          Court Name
                                                                                                                                                              On appeal

                                                                                                                                                          
                                                                                                          ________________________________________
                                                                                                          Number    Street                                ✔   Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________
                                                                    Bad faith insurance
                                                                                                                                                          
                   Coast to Coast Residential Dev. v.
                   Fire Defense Inc.                                                                      ________________________________________
                                                                                                           American Arbitration Association               ✔   Pending

                                                                                                                                                          
                                                                                                          Court Name
    Case title:
                                                                                                                                                              On appeal

                                                                                                                                                          
                                                                                                          ________________________________________
                                                                                                          Number    Street                                    Concluded


                                                                                                          ________________________________________
                          01-16-0004-7209-12-RZ                                                           City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     
     ✔     No. Go to line 11.
           Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property



                   _________________________________________                                                                              __________     $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                    Property was repossessed.
                                                                                
                   _________________________________________
                                                                                     Property was foreclosed.
                                                                                    Property was garnished.
                   _________________________________________
                   City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                                                                                
                   City                               State   ZIP Code
                                                                                     Property was attached, seized, or levied.



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
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Debtor 1          Robert Edward Hammett
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     
     ✔     No
           Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     
     ✔     No
           Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     
     ✔     No
           Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
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Debtor 1            Robert Edward Hammett
                    _______________________________________________________                                     Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     
     ✔     No
           Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     
     ✔
           No
           Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.

           Fire in home - insurance has been denied, Claim Pending: Yes, Not covered by insurance: $130,000.00
           Petitioners still pursuing                                                                          10/2016
                                                                                                               _________                                      130,000.00
                                                                                                                                                             $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     
     
           No
     ✔     Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             Berken Cloyes
             Person Who Was Paid

             ___________________________________
             Number       Street                                                                                                         _________           $_____________
                                                                                                                                                               1,500.00

             ___________________________________
                                                                                                                                         _________           $_____________
             ___________________________________
             City                       State    ZIP Code


             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



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Debtor 1           Robert Edward Hammett
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            Credit Counseling
            ____________________________________
            Person Who Was Paid
                                                                                                                                     06/2017
                                                                                                                                     _________               14.95
                                                                                                                                                           $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     
     ✔     No
           Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     
           No
     ✔     Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Misc. pawn brokers
                                                                   Knife, paintball gun, guitar, 1990
            Person Who Received Transfer
                                                                                                             Received $8,800
                                                                   Harley, gold jewelry, welding
            ___________________________________                    machine, headphones, power tools                                                          _________
                                                                                                                                                             01/01/2017
            Number       Street                                    (misc. dates), $8,800.00
            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you None
                                         _____________
                                                                   Petitioners' companies have sold          Cumulatively received approx. $35,000
            Misc. buyers
            ___________________________________                    many vehicles & trailers, $35,000.00
            Person Who Received Transfer
                                                                                                                                                              _________
                                                                                                                                                              01/01/2016
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________
                                          None

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
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Debtor 1           Robert Edward Hammett
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     
     ✔     No
           Yes. Fill in the details.

                                                                   Description and value of the property transferred                                        Date transfer
                                                                                                                                                            was made


                                                                                                                                                            _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     
           No
     ✔     Yes. Fill in the details.

                                                                   Last 4 digits of account number       Type of account or       Date account was       Last balance before
                                                                                                         instrument               closed, sold, moved,   closing or transfer
                                                                                                                                  or transferred
            Ameriprise - IRA
            ____________________________________
                                                                                                          Checking
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___                                       01/01/2017
                                                                                                                                  _________               6,700.00
                                                                                                                                                         $___________
            ____________________________________
                                                                                                          Savings
                                                                                                          Money market
            Number       Street



                                                                                                         
            ____________________________________
                                                                                                         ✔
                                                                                                           Brokerage

                                                                                                          Other__________
            ____________________________________
            City                       State    ZIP Code



           Edward Jones - IRA
           ____________________________________                        XXXX–___ ___ ___ ___               Checking               06/01/2017
                                                                                                                                  _________               800.00
                                                                                                                                                         $___________
                                                                                                          Savings
            Name of Financial Institution


                                                                                                          Money market
            ____________________________________

                                                                                                         
            Number       Street
                                                                                                         ✔ Brokerage
            ____________________________________

            ____________________________________                                                          Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for


     
     securities, cash, or other valuables?


     
     ✔  No
           Yes. Fill in the details.
                                                                       Who else had access to it?                   Describe the contents                       Do you still
                                                                                                                                                                have it?

                                                                                                                                                                
                                                                                                                                                                
                                                                                                                                                                    No
            ____________________________________                  _______________________________________
            Name of Financial Institution                                                                                                                           Yes
                                                                  Name

            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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Debtor 1            Robert Edward Hammett
                    _______________________________________________________                                              Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




    
22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?


    
    ✔      No
           Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?

                                                                                                                                                                            No
                                                                                                                                                                            Yes
             ___________________________________                     _______________________________________
             Name of Storage Facility                                Name

             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,


     
     or hold in trust for someone.


     
         No
     ✔     Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value
                                                                                                                             Accounts receivable from 2014 and
              Fire Defense Inc
             ___________________________________                                                                             prior (likely not collectible)
             Owner’s Name                                                                                                                                               175,000.00
                                                                                                                                                                       $__________
                                                                    Misc.
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     
     ✔     No
           Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



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Debtor 1           Robert Edward Hammett
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     
     ✔     No
           Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     
     ✔     No
           Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case


                                                                                                                                                                          
           Case title
                                                                    ________________________________                                                                          Pending

                                                                                                                                                                          
                                                                    Court Name
                                                                                                                                                                              On appeal

                                                                                                                                                                          
                                                                    ________________________________
                                                                    Number     Street                                                                                         Concluded


           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss


           
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?


           
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time


           
           ✔    A member of a limited liability company (LLC) or limited liability partnership (LLP)


           
                A partner in a partnership
                An officer, director, or managing executive of a corporation
           
           ✔    An owner of at least 5% of the voting or equity securities of a corporation

     
     
           No. None of the above applies. Go to Part 12.
     ✔     Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            Fire Defense Systems, LLC
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name                                          Alarm installation

            3928 Frailey Drive
            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
            Lafayette           CO     80026                                                                                           From 02/03/2013
                                                                                                                                             _______                To Current
                                                                                                                                                                       _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            R&S Management, LLC
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name                                          Real Estate Holding company

            3764 Eureka Way #5
            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
            Frederick            CO     80516                                                                                          From     _______
                                                                                                                                                01/16/2009              To Current
                                                                                                                                                                           _______
            ____________________________________
            City                        State    ZIP Code


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Debtor 1           Robert Edward Hammett
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                     Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Western Exposure Photography, LLC                      Photography
            Business Name
                                                                                                                            EIN: ___
                                                                                                                                  8 ___
                                                                                                                                     4 – ___
                                                                                                                                         - ___
                                                                                                                                             1 ___
                                                                                                                                               3 ___
                                                                                                                                                   4 ___
                                                                                                                                                     5 ___
                                                                                                                                                         5 ___
                                                                                                                                                            6
            ____________________________________
            PO Box 597
            Number        Street
                                                                                                                            Dates business existed

            ____________________________________

                                                                    Name of accountant or bookkeeper
            ____________________________________
            Erie                CO      80516                                                                               From 01/29/2003
                                                                                                                                  _______            To Current
                                                                                                                                                        _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     
     ✔     No
           Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/ Robert Edward Hammett
            ______________________________________________                        _____________________________
                                                                                     /s/ Suzanne Andrea Hammett
            Signature of Debtor 1                                                    Signature of Debtor 2


            Date ________________
                  06/14/2017                                                         Date _________________
                                                                                           06/14/2017
      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      
             No
      ✔      Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
           No
      
      ✔

            Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
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                Robert Edward Hammett & Suzanne Andrea Hammett
 Debtor 1                                                             _                  Case number (if known)
               First Name    Middle Name     Last Name



                                                 Continuation Sheet for Official Form 107
9) Lawsuits

Case Title: Capital One Bank v. Suzanne A. Hammett

Case Number: 2016CV31368

Court Name: Boulder County District Court

Court Address: , ,

Case Status: Pending

Nature of the case: Civil

-------


18) Transfers within 2 years

Pawn Broker            , ,          2008 Cadillac DTS,                                                 10/01/2016
                                     $0.00

Pawn Broker            , ,          2000 Cadillac Escala                                               01/01/2017
                                    de, $0.00


23) Property holding for another

R&S Managment, LLC, , ,                    Location: Petitioners' pos 2005 GMC Savanah box truck
                                           session, ,                 ,
                                                                        14 ft flatbed homemade t
                                                                      railer, tools, ladders,
                                                                        saws & drills, $10,000.
                                                                      00

Western Exposure Photograp Location: Petitioner wife' Computer/printer,
hy LLC, , ,                s possession, ,             2 Nikon .35 mm cameras,
                                                       1 Mamiya camera,
                                                       Novatron
                                                       studio lighting kit,
                                                       3 tripods w/backdrops,
                                                       reflectors, light box,
                                                       an
                                                      tique photography setti
                                                      ngs, $1,000.00

Fire Defense Inc, , ,                      Location: Petitioner husba 2006 GMC Sierra, $8,000.
                                           nd's possession, ,         00


27) Businesses

Fire Defense Inc Nature: Fire pro Accountant:                                    EIN: XX-XXXXXXX                  From: 01/01/2000
.,               tection installat                                                                                  To: 06/01/2014
 3928 Frailey     service & repair
Drive ,
 Lafayette,
 CO 80026




  Official Form 107                             Statement of Financial Affairs for Individuals
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Fill in this information to identify your case:

                  Robert Edward Hammett
Debtor 1          __________________________________________________________________
                    First Name                   Middle Name            Last Name
                  Suzanne Andrea Hammett
Debtor 2           ________________________________________________________________
(Spouse, if filing) First Name                   Middle Name            Last Name




                                                                                                                                                Check if this is an
                                        ______________________
United States Bankruptcy Court for the:District of Colorado    District of __________
                                                                                    (State)
Case number         ___________________________________________
 (If known)                                                                                                                                        amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                             12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                     What do you intend to do with the property that   Did you claim the property
                                                                                         secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                     Surrender the property.                           No
                                                                                         Retain the property and redeem it.                Yes
          name:           Wells Fargo Home Mortgage

                                                                                         Retain the property and enter into a
         Description of          Frailey Drive
         property

                                                                                        
         securing debt:                                                                       Reaffirmation Agreement.
                                                                                        ✔ Retain the property and [explain]:

                                                                                              Sell
                                                                                              ______________________________________


         Creditor’s                                                                      Surrender the property.                           No
                                                                                         Retain the property and redeem it.
                           FirstBank
                                                                                                                                           
         name:
                                                                                                                                           ✔ Yes

                                                                                         Retain the property and enter into a
         Description of          Frailey Drive
         property

                                                                                         Retain the property and [explain]:
         securing debt:                                                                       Reaffirmation Agreement.


                                                                                              ______________________________________

         Creditor’s      United Rentals North America                                    Surrender the property.                           No
                                                                                         Retain the property and redeem it.               
         name:
                                                                                                                                           ✔ Yes

                                                                                         Retain the property and enter into a
                                 Frailey Drive
         Description of
         property

                                                                                         Retain the property and [explain]:
         securing debt:                                                                       Reaffirmation Agreement.


                                                                                              ______________________________________

         Creditor’s        Internal Revenue Service                                      Surrender the property.                           No
                                                                                         Retain the property and redeem it.               
         name:
                                                                                                                                           ✔ Yes

                                                                                         Retain the property and enter into a
         Description of          Frailey Drive
         property

                                                                                         Retain the property and [explain]:
         securing debt:                                                                       Reaffirmation Agreement.
                                                                                         ✔

                                                                                               Sell
                                                                                              ______________________________________


  Official Form 108                                Statement of Intention for Individuals Filing Under Chapter 7                                   page 1
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                     Robert Edward Hammett & Suzanne Andrea Hammett
Debtor              ______________________________________________________                   Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                            Will the lease be assumed?

         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
         Description of leased                                                                                       Yes
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:


         Lessor’s name:                                                                                              No
                                                                                                                     Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ Robert Edward Hammett
         ___________________________________________           /s/ Suzanne Andrea Hammett
                                                                  ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             06/14/2017
     Date _________________
                                                                        06/14/2017
                                                                   Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




 Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                          page 2
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                 ACSI
                 PO Box 301608
                 Portland, OR 97294


                 AMCOL Systems
                 PO Box 21623
                 Columbia, SC 29221


                 Aggregate Industries
                 1701 Cole Blvd #100
                 Golden, CO 80401


                 American Express
                 PO Box 981535
                 El Paso, TX 79998-1535


                 American Family Insurance
                 6000 American Parkway
                 Madison, WI 53783


                 Behr Ltd
                 6742 N 63rd Street
                 Longmont, CO 80503


                 Bellco Credit Union
                 PO Box 6611
                 Greenwood Village, CO 80155
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                 Benjamin, Bain & Cohen, LLC
                 5555 DTC Parkway, Suite 340
                 Greenwood Village, CO 80111


                 Biehl & Biehl, Inc.
                 PO Box 87410
                 Carol Stream, IL 60188


                 Blue Mountain Landscape
                 451 Oak
                 Frederick, CO 80530


                 CAP Excavating & Demolition
                 1070 Boston Ave
                 Longmont, CO 80501


                 CMI Associates
                 2200 W Berry Ave, 2nd Floor
                 Littleton, CO 80120


                 CU Recovery Inc
                 26243 Forest Blvd
                 Wyoming, MN 55092


                 Capital One
                 PO Box 30285
                 Salt Lake City, UT 84130
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                 Capital Premium Financing
                 PO Box 660899
                 Dallas, TX 75266-0899


                 Carolyn Kay Caldwell
                 30 Beach Court
                 Williamson, WV 25661


                 Chase Bank
                 PO Box 15298
                 Wilmington, DE 19850


                 Chase Bank/Southwest
                 PO Box 15298
                 Wilmington, DE 19850


                 Clauson & Associates
                 916 S. Main Street, Ste. 202
                 Longmont, CO 80301


                 Coast to Coast Residential Development
                 5377 Manhattan Cir #103
                 Boulder, CO 80303


                 Colorado Department of Revenue
                 1375 Sherman St., Room 504
                 Attn: Bankruptcy Unit
                 Denver, CO 80261
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                 Comcast
                 One Comcast Center
                 Philadelphia, PA 19103


                 Comcast Business
                 9602 S300 W. Ste B
                 Sandy, UT 84070


                 Convergent Outsourcing
                 800 SW 39th St.
                 Renton, WA 98057


                 Credit Collection Services
                 715 S. Canton Street
                 Norwood, MA 02062


                 Dan's Concrete
                 382 Norfolk
                 Aurora, CO 80011


                 Daniel Blum
                 2919 Valmont Road, Suite 209
                 Boulder, CO 80301


                 Dream Homes Stucco & Stone
                 1001 Juniper Drive
                 Windsor, CO 80550
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                 EBA Inc
                 507 Chisom Way
                 Berthoud, CO 80513


                 Emergency Service Physicians
                 PO Box 808
                 Grand Rapids, MI 49518-0808


                 FPL
                 General Mail Facility
                 Miami, FL 33188-0001


                 Ferguson Enterprises
                 c/o Kevin R. Ellis
                 PO Box 172132
                 Denver, CO 80217


                 Fire Defense
                 3764 Eureka Way, Ste. 5
                 Frederick, CO 80516


                 First Choice ER Physicians
                 2941 Lake Vista Drive
                 Lewisville, TX 75067


                 FirstBank
                 10403 W Colfax Ave
                 Lakewood, CO 80215
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                 Front Range Window & Door
                 8160 Blakeland Drive, Unit C
                 Littleton, CO 80125


                 GB
                 145 Bradford Drive
                 W. Berlin, NJ 08091


                 Godin & Baity
                 621 17th Street, Ste. 1900
                 Denver, CO 80293


                 HD Supply Waterworks
                 PO Box 1419
                 Thomasville, GA 31799


                 Higgins Hopkins McLain & Roswell
                 100 Garfield St #100
                 Denver, CO 80206


                 Integral Recoveries
                 750 W Hampden Ave #501
                 Englewood, CO 80110


                 Internal Revenue Service
                 1999 Broadway M/S 5012
                 Denver, CO 80202-3025
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                 Internal Revenue Service
                 PO Box 7346
                 Philadelphia, PA 19101-7346


                 Janeway Law Firm, PC
                 9800 S. Meridian Blvd., Suite 400
                 Englewood, CO 80112


                 Kaiser Permanente
                 10350 E. Dakota Ave.
                 Denver, CO 80247


                 Kevin Ellis
                 PO Box 172132
                 Denver, CO 80217


                 Law Offices of Skrabo & Atkins
                 5670 Greenwood Plaza Blvd, Ste 400
                 Greenwood Village, CO 80111


                 Legacy Stone Products
                 7472 S Shaffer Ln #100
                 Littleton, CO 80127


                 Lewis, Roca, Rothberger
                 1200 17th Street, Ste. 3000
                 Denver, CO 80202
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                 Linebarger Goggan Blair & Sampson, LLP
                 1515 Cleveland Place #300
                 Denver, CO 80202


                 MR Accounting & Property Management
                 PO Box 2293
                 Longmont, CO 80502


                 MRS Associates
                 1930 Olney Avenue
                 Cherry Hill, NJ 08003


                 Machol & Johannes, LLC
                 700 17th Street, Suite 200
                 Denver, CO 80202-3502


                 Markusson Green & Jarvis
                 1660 Lincoln St, Ste 9250
                 Denver, CO 80264


                 McCarthy, Burgess & Wolff
                 2600 Cannon Rd.
                 Cleveland, OH 44146


                 McConaughy & Sarkissian, PC
                 8310 South Valley Highway, Ste. 250
                 Englewood, CO 80112
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                 McConaughy & Sarkissian, PC
                 8310 S Valley Highway, Suite 250
                 Englewood, CO 80110


                 Messner Reeves LLP
                 1430 Wynkoop Street, Ste 300
                 Denver, CO 80202


                 Midland Credit Management, Inc.
                 PO Box 2121
                 Warren, MI 48090


                 Midland Credit Management, Inc.
                 2365 Northside Dr #300
                 San Diego, CA 92108


                 Nationwide Credit Inc.
                 PO Box 26314
                 Lehigh Valley, PA 18002


                 Nixon Shefrin Hensen & Ogburn
                 5619 DTC Parkway #1200
                 Greenwood Village, CO 80111


                 Northfield Village
                 c/o Classic Property Mgmt
                 5757 Arapahoe Ave, Ste A1
                 Boulder, CO 80303
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                 Northglenn Heating & AC
                 10977 Irma Drive
                 Northglenn, CO 80233


                 Overturf McGraff & Hull
                 625 East 16th Avenue #100
                 Denver, CO 80202


                 Paul & Regina Svare
                 32036 Edward Drive
                 Conifer, CO 80433


                 Precision Roofing & Design Inc
                 1626 18th Avenue
                 Longmont, CO 80501


                 Ray Lego & Associates
                 6060 Willow Drive #100
                 Greenwood Village, CO 80111


                 South Denver Windustrial Co
                 3200 S Zuni St #B
                 Englewood, CO 80110


                 SprintPCS
                 6200 Sprint Parkway
                 Overland Park, KS 66251
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                 Standard Fence Company
                 4680 Jason Street
                 Denver, CO 80211


                 Stellar Recovery Inc.
                 1327 Highway 2 W, Suite 100
                 Kalispell, MT 59901


                 Stuart Allan & Associates
                 5447 E 5th St, Ste 110
                 Tucson, AZ 85711


                 Sweetbaum Sands Anderson PC
                 1125 17th Street, Suite 2100
                 Denver, CO 80202


                 Synchrony Bank/PayPal
                 PO Box 965036
                 Orlando, FL 32896


                 Tico's Roofing
                 1320 Duff Drive
                 Ft. Collins, CO 80524


                 United Rentals North America
                 100 First Stamford Place Ste 700
                 Stamford, CT 06902
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                 Viking Supply Net
                 210 N. Industrial Park Drive
                 Hastings, MI 49058


                 WFJ
                 1700 IDS Center
                 Minneapolis, MN 55402


                 Warren Credit Union
                 114 E. 7th Ave
                 Cheyenne, WY 82001


                 Weld County District Court
                 PO Box 2038
                 Greeley, CO 80635


                 Wells Fargo Bank
                 PO Box 10438
                 Des Moines, IA 50306


                 Wells Fargo Bank
                 420 Montgomery st.
                 San Francisco, CA 94104


                 Wells Fargo Home Mortgage
                 PO Box 10335
                 Des Moines, IA 50306
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                 Western Exposure Photography
                 PO Box 597
                 Erie, CO 80516
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                              United States Bankruptcy Court
                              District of Colorado




          Robert Edward Hammett & Suzanne Andrea
 In re:                                                        Case No.
          Hammett
                                                               Chapter    7
                     Debtor(s)




                             Verification of Creditor Matrix



        The above-named Debtor(s) hereby verify that the attached list of creditors is
 true and correct to the best of their knowledge.




               06/14/2017                        /s/ Robert Edward Hammett
 Date:
                                                 Signature of Debtor

                                                 /s/ Suzanne Andrea Hammett
                                                 Signature of Joint Debtor
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  N ot ic e Re quire d by 1 1 U.S.C. § 3 4 2 (b) for
  I ndividua ls Filing for Ba nk rupt cy (Form 2010)


                                                                  Chapter 7:        Liquidation
   This notice is for you if:

       You are an individual filing for bankruptcy,
                                                                            $245     filing fee
         and                                                                 $75     administrative fee

       Your debts are primarily consumer debts.
                                                                  +          $15     trustee surcharge
                                                                            $335     total fee
         Consumer debts are defined in 11 U.S.C.
         § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
         primarily for a personal, family, or                     difficulty preventing them from paying their
         household purpose.”                                      debts and who are willing to allow their non-
                                                                  exempt property to be used to pay their
                                                                  creditors. The primary purpose of filing under
                                                                  chapter 7 is to have your debts discharged. The
  T he t ype s of ba nk rupt c y t ha t a re                      bankruptcy discharge relieves you after
  a va ila ble t o individua ls                                   bankruptcy from having to pay many of your
                                                                  pre-bankruptcy debts. Exceptions exist for
  Individuals who meet the qualifications may file                particular debts, and liens on property may still
  under one of four different chapters of the                     be enforced after discharge. For example, a
  Bankruptcy Code:                                                creditor may have the right to foreclose a home
  
                                                                  mortgage or repossess an automobile.
        Chapter 7 — Liquidation

  
                                                                  However, if the court finds that you have
        Chapter 11 — Reorganization
                                                                  committed certain kinds of improper conduct
  
                                                                  described in the Bankruptcy Code, the court
        Chapter 12 — Voluntary repayment plan
                     for family farmers or                        may deny your discharge.
                     fishermen
                                                                  You should know that even if you file
  
                                                                  chapter 7 and you receive a discharge, some
        Chapter 13 — Voluntary repayment plan
                     for individuals with regular                 debts are not discharged under the law.
                     income                                       Therefore, you may still be responsible to pay:
                                                                      most taxes;
  You should have an attorney review your                             most student loans;
                                                                  
  decision to file for bankruptcy and the choice of
                                                                       domestic support and property settlement
  chapter.
                                                                       obligations;




  Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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     most fines, penalties, forfeitures, and                     your income is more than the median income
      criminal restitution obligations; and                       for your state of residence and family size,
     certain debts that are not listed in your                   depending on the results of the Means Test, the
      bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                  creditors can file a motion to dismiss your case
  You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
  from:                                                           motion is filed, the court will decide if your
  
                                                                  case should be dismissed. To avoid dismissal,
      fraud or theft;
                                                                  you may choose to proceed under another
     fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
      of fiduciary capacity;
  
                                                                  If you are an individual filing for chapter 7
      intentional injuries that you inflicted; and
                                                                  bankruptcy, the trustee may sell your property
     death or personal injury caused by                          to pay your debts, subject to your right to
      operating a motor vehicle, vessel, or                       exempt the property or a portion of the
      aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
      drugs.                                                      property, and the proceeds from property that
                                                                  your bankruptcy trustee sells or liquidates that
  If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
  court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
  that you have enough income to repay                            home, a car, clothing, and household items or
  creditors a certain amount. You must file                       to receive some of the proceeds if the property
  Chapter 7 Statement of Your Current Monthly                     is sold.
  Income (Official Form 122A–1) if you are an
  individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
  chapter 7. This form will determine your                        property, you must list it on Schedule C: The
  current monthly income and compare whether                      Property You Claim as Exempt (Official Form
  your income is more than the median income                      106C). If you do not list the property, the
  that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                  to your creditors.
  If your income is not above the median for
  your state, you will not have to complete the
  other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
  Test Calculation (Official Form 122A–2).
                                                                           $1,167 filing fee
  If your income is above the median for your                     +          $550 administrative fee
  state, you must file a second form —the                                  $1,717 total fee
  Chapter 7 Means Test Calculation (Official
  Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
  sometimes called the Means Test—deduct                          business, but is also available to individuals.
  from your income living expenses and                            The provisions of chapter 11 are too
  payments on certain debts to determine any                      complicated to summarize briefly.
  amount available to pay unsecured creditors. If


  Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2
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 Re a d T he se I m port a nt Wa rnings


  Because bankruptcy can have serious long-term financial and legal consequences, including loss of
  your property, you should hire an attorney and carefully consider all of your options before you file.
  Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
  and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
  properly and protect you, your family, your home, and your possessions.
  Although the law allows you to represent yourself in bankruptcy court, you should understand that
  many people find it difficult to represent themselves successfully. The rules are technical, and a
  mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
  and following all of the legal requirements.
  You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
  necessary documents.
  Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
  bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
  fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
  20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




  Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
              farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                  money that you owe them, usually using your
             $200 filing fee
                                                                  future earnings. If the court approves your
  +           $75 administrative fee
             $275 total fee
                                                                  plan, the court will allow you to repay your
                                                                  debts, as adjusted by the plan, within 3 years or
  Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
  family farmers and fishermen to repay their                     factors.
  debts over a period of time using future
  earnings and to discharge some debts that are                   After you make all the payments under your
  not paid.                                                       plan, many of your debts are discharged. The
                                                                  debts that are not discharged and that you may
                                                                  still be responsible to pay include:
                                                                      domestic support obligations,
  Chapter 13: Repayment plan for
              individuals with regular                                most student loans,
              income                                                  certain taxes,
                                                                      debts for fraud or theft,
                                                                  
            $235    filing fee
                                                                       debts for fraud or defalcation while acting
  +          $75    administrative fee
                                                                       in a fiduciary capacity,
            $310    total fee
                                                                      most criminal fines and restitution
  Chapter 13 is for individuals who have regular                       obligations,
  income and would like to pay all or part of                         certain debts that are not listed in your
  their debts in installments over a period of time                    bankruptcy papers,
                                                                  
  and to discharge some debts that are not paid.
                                                                       certain debts for acts that caused death or
  You are eligible for chapter 13 only if your
                                                                       personal injury, and
  debts are not more than certain dollar amounts
                                                                      certain long-term secured debts.
  set forth in 11 U.S.C. § 109.


  Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
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                                                                  A married couple may file a bankruptcy case
      Wa rning: File Y our Form s on T im e                       together—called a joint case. If you file a joint
                                                                  case and each spouse lists the same mailing
      Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
      requires that you promptly file detailed information
                                                                  bankruptcy court generally will mail you and
      about your creditors, assets, liabilities, income,
      expenses and general financial condition. The               your spouse one copy of each notice, unless
      court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
      not file this information within the deadlines set by       each spouse receive separate copies.
      the Bankruptcy Code, the Bankruptcy Rules, and
      the local rules of the court.

      For more information about the documents and                U nde rst a nd w hic h se rvic e s you
      their deadlines, go to:                                     c ould re c e ive from c re dit
      http://www.uscourts.gov/bkforms/bankruptcy_form             c ounse ling a ge nc ie s
      s.html#procedure.
                                                                  The law generally requires that you receive a
                                                                  credit counseling briefing from an approved
                                                                  credit counseling agency. 11 U.S.C. § 109(h).
  Ba nk rupt c y c rim e s ha ve se rious
                                                                  If you are filing a joint case, both spouses must
  c onse que nc e s
                                                                  receive the briefing. With limited exceptions,
       If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
        assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
        under penalty of perjury—either orally or                 is usually conducted by telephone or on the
        in writing—in connection with a                           Internet.
        bankruptcy case, you may be fined,
        imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                  generally must complete a financial
        All information you supply in connection                 management instructional course before you
        with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
        examination by the Attorney General acting                case, both spouses must complete the course.
        through the Office of the U.S. Trustee, the
        Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
        offices and employees of the U.S.                         provide both the briefing and the instructional
        Department of Justice.                                    course from:
                                                                  http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
  M a k e sure t he c ourt ha s your                              In Alabama and North Carolina, go to:
  m a iling a ddre ss                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/

  The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

  mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

  for Individuals Filing for Bankruptcy (Official
                                                                  If you do not have access to a computer, the
  Form 101). To ensure that you receive
                                                                  clerk of the bankruptcy court may be able to
  information about your case, Bankruptcy
                                                                  help you obtain the list.
  Rule 4002 requires that you notify the court of
  any changes in your address.


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